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                                   ARCH INSURANCE COMPANY
                                           (A Missouri Corporation)
Home Office Address:                                                       Administrative Address:
2345 Grand Blvd, Suite 900                                                 311 South Wacker Drive
Kansas City, MO 64108                                                                   Suite 3700
                                                                                Chicago, IL 60606
                                                                               Tel: (214) 438-4011



                     ARCH CORPORATE CANOPY® POLICY
          PRIVATE COMPANY MANAGEMENT LIABILITY & CRIME INSURANCE
EXCEPT AS OTHERWISE PROVIDED, THE LIABILITY COVERAGE PARTS OF THIS POLICY APPLY
ONLY TO CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD AND
REPORTED TO THE INSURER NO LATER THAN SIXTY (60) DAYS AFTER THE END OF THE
POLICY PERIOD. EACH APPLICABLE LIABILITY COVERAGE PART LIMIT OF LIABILITY SHALL
BE REDUCED BY DEFENSE COSTS PAYMENTS.

                                              DECLARATIONS
Policy No.:     PCD 9300378-02

Item 1.       Named Organization & Address:        MID-WEST CONVEYOR CO.
                                                   8245 NIEMAN ROAD
                                                   LENEXA, KS 66214

Item 2.       Policy Period:
              From:       December 17, 2015
              To:         December 17, 2016
              12:01 a.m. local time at the address stated in Item 1

Item 3.       Policy Premium:                                                         $27,381.00
              Taxes, Surcharges and other Assessments, if applicable:                      $0.00
              Premium attributable to Terrorism Risk Insurance:                            $0.00
              Included In Policy Premium           X
              In Addition To Policy Premium

Item 4.       Extended Reporting Period (Liability Coverage Parts only):
              Additional Period:  12 month(s)
              Additional Premium: 125.00 %




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Item 5.     Notices to Insurer:
                      Claims or Potential Claims:                        All Other Notices:
                   Arch Insurance Company                           Arch Insurance Company
                 Executive Assurance Claims                      Executive Assurance Underwriting
                1299 Farnam Street, Suite 500                      One Liberty Plaza, 53rd Floor
                      Omaha, NE 68102                                 New York, NY 10006
                       P.O. Box 542033                                 Fax: (212) 651-6499
                      Omaha, NE 68154
                Phone: 877 688-ARCH (2724)
                      Fax: 866 266-3630
              E-mail: Claims@ArchInsurance.com


Item 6.     Coverage Elections:

            Only those Coverage Parts, Insuring Agreements, and Options designated with an X
            are included under this Policy.

                  Liability Coverage Parts Aggregate Limit of Liability Option:

            X     Directors, Officers, & Organization Liability Coverage Part:


          Limit of                Deductible               Pending and
          Liability               Each Claim               Prior Litigation Date              Options
                  $5,000,000 Insuring Agreement A:        Insuring Agreement A:        X Additional
                                               nil                          11/07/2007   $500,000
                                                                                         Limit of
                                                                                         Liability for
                                  Insuring Agreement B:   Insuring Agreement B:          Claims
                                                  $25,000                   11/07/2007   against
                                                                                         Insured
                                                                                         Persons
                                  Insuring Agreement C:   Insuring Agreement C:
                                                  $25,000                   11/07/2007




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         X   Employment Practices Liability Coverage Part:


       Limit of                 Deductible                  Pending and
       Liability                Each Claim                  Prior Litigation Date   Options
                   $1,000,000                     $25,000              11/07/2007 X Third Party
                                                                                    Coverage:
                                                                                    – Sublimit of
                                                                                      Liability:
                                                                                        $1,000,000
                                                                                    – Deductible:
                                                                                            $25,000
                                                                                    – Pending and
                                                                                      Prior
                                                                                      Litigation
                                                                                      Date:
                                                                                        11/07/2007

         X   Fiduciary Liability Coverage Part:


       Limit of                 Deductible                  Pending and
       Liability                Each Claim                  Prior Litigation Date
                   $1,000,000                         $0               11/07/2007




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           X   Crime Coverage Part:


                                          Limit of
          Insuring Agreement              Liability            Deductible          Options

          X A. Employee Theft                    $1,000,000              $25,000      Loss Sustained
                                                                                      or
                                                                                  X Loss
                                                                                      Discovered
          X B. Customer Property                 $1,000,000                      (If neither box above is
                                                                         $25,000
                                                                                 designated with
                                                                                 an X, this
          X C. Inside the Premises                                               Policy shall be
                                                 $1,000,000              $25,000 issued on a Loss
                                                                                 Sustained basis)
          X D. Outside the Premises              $1,000,000              $25,000


          X E. Forgery or Alteration             $1,000,000              $25,000


          X F. Computer Fraud or                 $1,000,000              $25,000 X      Investigation
               Fraudulent Transfer                                                      Costs
               Instructions                                                             Coverage:
                                                                                        – Sublimit of
                                                                                          Liability:
                                                                                                  $100,000
          X G. Currency Fraud                    $1,000,000              $25,000



Item 7.   Endorsements: See attached schedule of endorsements and notices.

This Policy shall not be valid unless signed by a duly authorized representative of the Insurer.



                                                                          December 15, 2015
    Authorized Representative                                             Date




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                               Signature Page


IN WITNESS WHEREOF, Arch Insurance Company has caused this policy to be
executed and attested.




John Mentz                                          Patrick Nails
President                                           Secretary




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                       SCHEDULE OF FORMS AND ENDORSEMENTS

INSURED: MID-WEST CONVEYOR CO.                        TERM: December 17,      to December 17, 2016
                                                      2015

POLICY NUMBER: PCD 9300378-02




ENDT. NO.       FORM NO.                      TITLE
                05 PCD0071 00 03 10           ARCH   CORPORATE    CANOPY POLICY    PRIVATE
                                              COMPANY    MANAGEMENT    LIABILITY &  CRIME
                                              INSURANCE DECLARATIONS
                05 ML0002 00 12 14            SIGNATURE PAGE (ARCH INSURANCE)
                00 PCD0072 00 04 07           GENERAL PROVISIONS COVERAGE FORM TABLE OF
                                              CONTENTS
                00 PCD0073 00 04 07           DIRECTORS, OFFICERS,      &   ORGANIZATIONLIABILITY
                                              COVERAGE PART
                00 PCD0074 00 04 07           EMPLOYMENT PRACTICES LIABILITYCOVERAGE PART
                00 PCD0075 00 04 07           FIDUCIARY LIABILITYCOVERAGE PART
                00 PCD0076 00 04 07           CRIME COVERAGE PART
    1           00 PCD0216 00 09 09           KIDNAP, RANSOM & EXTORTION COVERAGE PART
    2           00 PCD0328 00 11 10           AMENDMENTS TO GENERAL PROVISIONS
    3           00 ML0207 00 11 03            STATE AMENDATORY         INCONSISTENCY      (GENERAL
                                              PROVISIONS)
    4           00 PCD0198 00 09 09           INSURED RIGHT TO CONSENT TO SETTLEMENTS
                                              (GENERAL PROVISIONS)
    5           00 PCD0206 00 02 10           OTHER INSURANCE      -   FUND     POLICY    (GENERAL
                                              PROVISIONS)
    6           00 PCD0204 00 09 09           INSURED DUTY TO DEFEND -- OPTION TO TENDER
                                              DEFENSE (GENERAL PROVISIONS)
    7           00 ML0207 00 11 03            NAMED CO-DEFENDANTS EXTENSION FOR PRIVATE
                                              EQUITY AND VENTURE CAPITAL FIRMS (GENERAL
                                              PROVISIONS)
    8           00 PCD0396 00 05 12           AMEND COVERAGE PART COORDINATION PROVISION
    9           00 PCD0325 00 11 10           AMENDMENTS     TO    DIRECTORS,   OFFICERS,            &
                                              ORGANIZATION LIABILITY COVERAGE PART
   10           00 PCD0227 00 11 11           OUTSIDE CAPACITY EXCLUSION - PRIVATE EQUITY
                                              CLARIFICATION (D&O)
   11           00 PCD0189 00 09 09           ANTITRUST    EXCLUSION   -   DEFENSE           COSTS
                                              SUBLIMIT (D&O COVERAGE PART)




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ENDT. NO.       FORM NO.                      TITLE
   12           00 PCD0266 00 04 10           CRISIS MANAGEMENT EXPENSES FOR NETWORK
                                              SECURITY BREACH (D&O LIABILITY COVERAGE PART)
   13           00 PCD0272 00 06 10           ADDITIONAL LIMIT OF LIABILITY - $1,000,000 (SAME
                                              CLAIM) (D&O LIABILITY COVERAGE PART)
   14           00 PCD0385 00 10 11           ARCH CANOPY PREMIERSM WITH CONTINUITY
                                              PROTECTION EMPLOYMENT PRACTICES LIABILITY
                                              COVERAGE PART
   15           00 PCD0262 00 03 10           WORKPLACE VIOLENCE COVERAGE (EMPLOYMENT
                                              PRACTICES LIABILITY COVERAGE PART)
   16           00 PCD0265 00 04 10           EMPLOYEE PRIVACY VIOLATION - DEFENSE COSTS
                                              SUB-LIMIT (EPL COVERAGE PART)
   17           00 PCD0367 00 04 11           AMEND WAGE & HOUR EXCLUSION (EPL COVERAGE
                                              PART)
   18           00 PCD0327 00 11 10           AMENDMENTS TO FIDUCIARY LIABILITY COVERAGE
                                              PART
   19           00 PCD0232 00 11 09           AMEND DEFINITION OF LOSS -      HIPAA SUBLIMIT
                                              (FIDUCIARY COVERAGE PART)
   20           00 PCD0180 00 07 09           CROWN CANOPY CRIME COVERAGE PART
   21           00 PCD0473 00 08 13           AMEND DEFINITIONS OF DATA AND LOSS (CRIME
                                              COVERAGE PART)
   22           00 PCD0474 00 08 13           AMEND OWNERSHIP OF PROPERTY; INTERESTS
                                              COVERED SECTION (CRIME COVERAGE PART)
   23           00 PCD0431 00 10 12           PRIOR ACTS EXCLUSION
   24           00 PCD0215 00 10 14           ADDITIONAL INSURED ORGANIZATIONS WITH PRIOR
                                              ACT DATE (GENERAL PROVISIONS)
   25           00 ML0207 00 11 03            PAYMENT INSTRUCTION FRAUD COVERAGE (CRIME
                                              COVERAGE PART)
   26           00 ML0207 00 11 03            SPECIFIC ENTITY EXCLUSION
   27           00 PCD0077 17 05 07           KANSAS AMENDATORY ENDORSEMENT (CANOPY)
                00 MLT0027 00 01 15           TERRORISM COVERAGE DISCLOSURE NOTICE
                00 ML0065 00 06 07            U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                                              ASSETS CONTROL ("OFAC")




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                           GENERAL PROVISIONS

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3.    COVERAGE TERRITORY
4.    COVERAGE EXTENSIONS
5.    EXTENDED REPORTING PERIOD
6.    LIMIT OF LIABILITY
7.    DEDUCTIBLE
8.    DEFENSE OF CLAIMS
9.    CLAIM AND POTENTIAL CLAIM NOTICES
10.   INTERRELATED CLAIMS
11.   ALLOCATION
12.   SUBROGATION
13.   OTHER INSURANCE
14.   CORPORATE TRANSACTIONS
15.   APPLICATION
16.   SUITS AGAINST THE INSURER
17.   ENTIRE AGREEMENT
18.   CHANGES
19.   ASSIGNMENT
20.   NAMED ORGANIZATION’S AUTHORITY
21.   CANCELLATION
22.   BANKRUPTCY
23.   NOTICES
24.   TITLES
25.   REFERENCES TO LAWS
26.   COVERAGE PART COORDINATION




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   In consideration of the payment of the premium and in reliance upon the Application, the Insurer
   specified in the Declarations (the “Insurer”) and the Insureds agree as follows:

                                   GENERAL PROVISIONS
   1.    APPLICABILITY OF GENERAL PROVISIONS

         A.    Except as specifically provided herein, the General Provisions apply to all Coverage
               Parts.

         B.    Except as specifically provided therein, the provisions of each Coverage Part apply
               to such Coverage Part only.

         C.    If there is a conflict between the General Provisions and any Coverage Part, the
               provisions of the Coverage Part shall control.

   2.    DEFINITIONS

         Whether used in the singular or plural, the following terms shall have the meanings
         specified below:

         A.    “Application” means the application for this Policy, including any information and
               materials submitted therewith or incorporated therein. “Application” also means any
               application, including any information and materials submitted therewith or
               incorporated therein, for any insurance policy in an uninterrupted series of policies
               issued by the Insurer, or any insurance company controlling, controlled by or under
               common control with the Insurer, of which this Policy is a direct or indirect renewal
               or replacement. The Application shall be deemed attached to and is incorporated
               into this Policy.

         B.    “Claim” shall have the meaning specified in the respective Liability Coverage Part.

         C.    “Debtor in Possession” means a “debtor in possession” as defined in Chapter 11 of
               the United States Bankruptcy Code or any similar law.

         D.    “Defense Costs” means reasonable and necessary fees and expenses incurred in
               the defense or appeal of a Claim. Defense Costs shall include the premium for any
               appeal, attachment or similar bond, provided that the Insurer shall have no
               obligation to issue such bond. Defense Costs shall not include any compensation,
               benefit expenses, or overhead of any Insureds.

         E.    “Domestic Partner” means any natural person qualifying as a domestic partner
               under any federal, state or local law or under the provisions of any formal program
               established by any Insured Organization.

         F.    “Employee” shall have the meaning specified in the respective Coverage Part.

         G.    “ERISA” means the Employee Retirement Income Security Act of 1974, the English
               Pension Scheme Act 1993, the English Pensions Act 1995, or any similar law.

         H.    “Executive” shall have the meaning specified in the respective Coverage Part.

         I.    “Independent Contractor” means any natural person working for an Insured
               Organization in the capacity of an independent contractor pursuant to an express
               contract or agreement with an Insured Organization governing the nature of such
               person’s engagement.



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        J.    “Insolvency” means the status of any Insured Organization due to:


              1.      the appointment of any conservator, liquidator, receiver, trustee, or similar
                      official to control, supervise, or liquidate such Insured Organization; or

              2.      such Insured Organization becoming a Debtor in Possession.

        K.    “Insured Organization” means:

              1.      the Named Organization; or

              2.      any Subsidiary;

              including any such organization as a Debtor in Possession.

        L.    “Insured Person” shall have the meaning specified in the respective Coverage Part.

        M.    “Insureds” shall have the meaning specified in the respective Coverage Part.

        N.    “Interrelated Wrongful Acts” means Wrongful Acts that have as a common nexus
              any fact, circumstance, situation, event, transaction, cause or series of causally
              connected facts, circumstances, situations, events, transactions or causes.

        O.    “Liability Coverage Part” means any Coverage Part of this Policy other than the
              Crime Coverage Part.

        P.    “Loss” shall have the meaning specified in the respective Coverage Part.

        Q.    “Named Organization” means the organization named in Item 1 of the Declarations.

        R.    “Non-Indemnifiable Loss” means any Loss incurred by Insured Persons that all
              Insured Organizations cannot indemnify because of:

              1.      legal prohibition; or

              2.      Insolvency.

              In determining Non-Indemnifiable Loss, all Insured Organizations shall be
              deemed to provide indemnification to the Insured Persons to the fullest extent
              permitted or required by law.

        S.    “Policy Period” means the period specified in Item 2 of the Declarations, subject to
              any cancellation prior to the scheduled expiration date.

        T.    “Pollutants” means any solid, liquid, gaseous, biological, radiological or thermal
              contaminant or irritant, including, without limitation, smoke, vapor, soot, fumes,
              acids, alkalis, chemicals, mold, fungi, odors, noise, lead, oil or oil products, radiation,
              asbestos or asbestos containing products, waste or any electric, magnetic, or
              electromagnetic field of any frequency. “Waste” includes, without limitation, material
              to be recycled, reconditioned, or reclaimed.

        U.    “Subsidiary” means any:

              1.      corporation in which, and for as long as, the Named Organization owns or
                      controls, either directly or indirectly, more than 50% of the outstanding



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                      securities representing a present right to vote for the election of the board of
                      directors of such corporation;

              2.      limited liability company in which, and for as long as, the Named
                      Organization owns or controls, either directly or indirectly, the right to elect,
                      appoint or designate more than 50% of the members of the board of
                      managers or management committee of such limited liability company;

              3.      joint venture corporation or limited liability company in which, and for as long
                      as, the Named Organization: (i) owns or controls, either directly or indirectly,
                      exactly 50% of the outstanding securities representing a present right to vote
                      for the election of the board of directors of such corporation or the right to
                      elect, appoint or designate exactly 50% of the members of the board of
                      managers or management committee of such limited liability company; and
                      (ii) solely controls the management and operations of such organization
                      pursuant to a written agreement with the other owners of such organization;
                      or

              4.      foundation, charitable trust, or political action committee in which, and for as
                      long as, the Named Organization exclusively sponsors such entity or
                      organization.

        V.    “Wrongful Act” shall have the meaning specified in the respective Liability
              Coverage Part.

   3.   COVERAGE TERRITORY

        This Policy shall apply on a worldwide basis.

   4.   COVERAGE EXTENSIONS

        Regarding the Liability Coverage Parts only:

        A.    Spousal Coverage

              Coverage shall apply to a Claim made against the lawful spouse or Domestic
              Partner of any Insured Person provided that:

              1.      such Claim arises solely out of:

                      a.    such person’s status as the spouse or Domestic Partner of an
                            Insured Person; or

                      b.    such person’s ownership of property sought as recovery for a
                            Wrongful Act;

              2.      the Insured Person is named in such Claim along with the spouse or
                      Domestic Partner; and

              3.      no coverage shall apply to any Claim for a Wrongful Act of such spouse or
                      Domestic Partner.

                      Coverage for such Claim shall be on the same terms and conditions
                      (including, without limitation, the Deductible) as apply to a Claim made
                      against an Insured Person.



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        B.    Estate Coverage

              If any Insured Person dies, becomes incapacitated, or files for bankruptcy, any
              Claim made against such person’s estate, heirs, assigns or legal representatives for
              a Wrongful Act of such Insured Person shall be deemed a Claim made against
              such Insured Person. No coverage shall apply to any Claim for a Wrongful Act of
              such estate, heirs, assigns or legal representatives.

   5.   EXTENDED REPORTING PERIOD

        Regarding the Liability Coverage Parts only:

        A.    If the Insurer or Named Organization shall refuse to renew this Policy, or if the
              Named Organization shall cancel this Policy, the Insureds shall have the right,
              upon payment of the Additional Premium stated in Item 4 of the Declarations, to a
              continuation of the coverage afforded by all elected Liability Coverage Parts for
              the Additional Period stated in Item 4 of the Declarations (the “Extended Reporting
              Period”). If elected, the Extended Reporting Period shall commence upon the
              effective date of such nonrenewal or cancellation. Such continuation of coverage
              shall apply only to a Claim:

              1.      first made against the Insureds during the Extended Reporting Period for a
                      Wrongful Act occurring prior to the end of the Policy Period; and

              2.      otherwise covered by any Liability Coverage Part.

        B.    The rights contained in this section shall terminate unless a written notice of election
              together with the additional premium due is received by the Insurer within thirty (30)
              days after the effective date of nonrenewal or cancellation.

        C.    The additional premium for the Extended Reporting Period shall be fully earned at
              the inception of the Extended Reporting Period. The Extended Reporting Period is
              not cancelable.

        D.    There is no separate limit of liability for the Extended Reporting Period.

   6.   LIMIT OF LIABILITY

        Regarding the Liability Coverage Parts only:

        A.    The Limit of Liability specified in Item 6 of the Declarations for each Liability
              Coverage Part shall be the maximum aggregate amount that the Insurer shall pay
              under such Liability Coverage Part.

        B.    Notwithstanding the above, if the Liability Coverage Parts Aggregate Limit of Liability
              Option is elected in Item 6 of the Declarations:

              1.      such single shared Limit of Liability shall be the maximum aggregate amount
                      that the Insurer shall pay under all Liability Coverage Parts combined; and

              2.      any amount specified as a Limit of Liability for an elected Liability Coverage
                      Part shall be:

                      a.    the maximum aggregate amount that the Insurer shall pay under such
                            Liability Coverage Part; and



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                      b.   part of, and not in addition to, the amount specified as the Liability
                           Coverage Parts Aggregate Limit of Liability.

        C.    Defense Costs shall be part of, and not in addition to, each applicable Limit of
              Liability. Payment of Defense Costs by the Insurer shall reduce each applicable
              Limit of Liability.

   7.   DEDUCTIBLE

        Regarding the Liability Coverage Parts only:

        A.    The Insurer shall pay covered Loss arising from each Claim covered under any
              Liability Coverage Part only to the extent such Loss is in excess of the applicable
              Deductible specified in Item 6 of the Declarations.

        B.    Each Deductible under any Liability Coverage Part shall be uninsured.

        C.    Any Loss paid by the Insurer under any Liability Coverage Part pursuant to a duty
              to defend or otherwise that is within any applicable Deductible shall be reimbursed
              by any Insured Organization upon the Insurer’s request.

        D.    If a Claim is subject to multiple Deductibles, then each Deductible shall apply
              separately to such Claim, provided that the total Deductible for such Claim shall not
              exceed the highest applicable Deductible.

        E.    No Deductible shall apply to Non-Indemnifiable Loss.

        F.    If any Insured Organization is permitted by common or statutory law to indemnify
              an Insured Person for Loss, or to advance Defense Costs on their behalf, and fails
              to do so other than because of Insolvency, then any coverage under a Liability
              Coverage Part for such Insured Person shall apply without any Deductible. In such
              case, the Insured Organization shall reimburse the Insurer for the Deductible that
              would have applied if indemnification or advancement had been made.

   8.   DEFENSE OF CLAIMS

        Regarding the Liability Coverage Parts only:

        A.    The Insurer shall have the right and duty to defend each Claim covered under a
              Liability Coverage Part for which the Insurer receives notice, even if such Claim is
              groundless, false or fraudulent. The Insurer may make any investigation it deems
              appropriate.

        B.    The Insurer’s duty to defend any Claim shall end upon exhaustion of any applicable
              Limit of Liability. If any applicable Limit of Liability is exhausted, the premium for this
              Policy shall be fully earned.

        C.    The Insureds shall neither admit nor assume any liability, enter into any settlement
              agreement, stipulate to any judgment, or incur any Defense Costs without the prior
              written consent of the Insurer, such consent not to be unreasonably withheld. The
              Insurer shall not be liable for any admission, assumption, settlement, stipulation, or
              Defense Costs to which it has not consented.

        D.    The Insurer may, with the written consent of the Insureds, settle any Claim for a
              monetary amount that the Insurer deems reasonable. If any Insureds refuse to



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               consent to the settlement of a Claim recommended by the Insurer and acceptable
               to a claimant, then the Insurer shall not pay Loss for such Claim in excess of the
               sum of:

               1.     The amount of the proposed settlement plus Defense Costs incurred prior to
                      such refusal; and

               2.     80% of Loss incurred for such Claim in excess of the amount specified in 1.
                      above.

         E.    The Insureds shall give to the Insurer all information and cooperation as the
               Insurer may reasonably request. Upon the Insurer’s request, the Insureds shall
               attend proceedings, hearings and trials and shall assist in effecting settlements,
               securing and giving evidence, obtaining the attendance of witnesses and conducting
               the defense of any Claim.

   9.    CLAIM AND POTENTIAL CLAIM NOTICES

         Regarding the Liability Coverage Parts only:

         A.    As a condition precedent to coverage, the Insureds shall give the Insurer written
               notice of any Claim as soon as practicable, but no later than 60 days after the end
               of the Policy Period or the Extended Reporting Period, if applicable. Such notice
               shall specify the Liability Coverage Part under which notice is being given.

         B.    If, during the Policy Period or Extended Reporting Period, if applicable, the
               Insureds become aware of a Wrongful Act that may reasonably be expected to
               give rise to a Claim against an Insured for which coverage may be available under
               a Liability Coverage Part, and if written notice of such Wrongful Act is given to the
               Insurer during the Policy Period or Extended Reporting Period, if applicable,
               specifying the (i) reasons for anticipating such a Claim, (ii) nature and date of the
               Wrongful Act, (iii) identity of the Insureds involved, (iv) injuries or damages
               sustained, (v) names of potential claimants, (vi) manner in which the Insureds first
               became aware of the Wrongful Act and (vii) the Liability Coverage Part under
               which such notice is being given, then any Claim subsequently arising from such
               Wrongful Act shall be deemed to be a Claim first made at the time that the Insurer
               receives such notice.

   10.   INTERRELATED CLAIMS

         Regarding the Liability Coverage Parts only, all Claims arising from, based upon, or
         attributable to the same Wrongful Act or Interrelated Wrongful Acts shall be deemed to
         be a single Claim first made on the earliest date that:

         A.    any of such Claims was first made, even if such date is before the Policy Period;

         B.    proper notice of such Wrongful Act or Interrelated Wrongful Act was given to the
               Insurer pursuant to Section 9.B above; or

         C.    notice of such Wrongful Act or Interrelated Wrongful Act was given under any
               prior insurance policy.

   11.   ALLOCATION

         Regarding the Liability Coverage Parts only, if the Insureds incur Loss that is only
         partially covered by this Policy because a Claim includes both covered and uncovered



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         matters or because a Claim is made against both covered and uncovered parties, Loss
         shall be allocated as follows:

         A.    100% of Defense Costs shall be allocated to covered Loss; and

         B.    Loss other than Defense Costs shall be allocated between covered and
               non-covered Loss based upon the relative legal exposure of the parties to such
               matters.

   12.   SUBROGATION

         The Insurer shall be subrogated to all of the Insureds’ rights of recovery regarding any
         payment of Loss under this Policy. The Insureds shall do everything necessary to secure
         and preserve such rights, including, without limitation, the execution of any documents
         necessary to enable the Insurer to effectively bring suit in the name of the Insureds. The
         Insureds shall do nothing to prejudice the Insurer’s position or any rights of recovery.

   13.   OTHER INSURANCE

         Coverage under this Policy shall apply only in excess of any other valid and collectible
         insurance or bond regardless of whether such other insurance or bond is stated to be
         excess, contributory, contingent or otherwise, unless such other insurance or bond is
         written specifically excess of this Policy by reference in such other insurance or bond to
         this Policy’s Policy Number.

   14.   CORPORATE TRANSACTIONS

         A.    Takeover of Named Organization

               If, during the Policy Period:

               1.     any person or entity or group of persons and/or entities acting in concert
                      acquires securities which result in ownership by such person(s) and/or
                      entity(ies) of more than 50% of the outstanding securities representing the
                      present right to vote for the election of directors or equivalent positions of the
                      Named Organization; or

               2.     the Named Organization merges into or consolidates with another
                      organization such that the Named Organization is not the surviving
                      organization,

               then coverage shall continue under this Policy, but only for Claims for Wrongful
               Acts (under a Liability Coverage Part) or covered Loss (under the Crime
               Coverage Part) occurring before such transaction. No coverage shall be available
               for any Wrongful Act (under a Liability Coverage Part) or Loss (under the Crime
               Coverage Part) occurring after such transaction. Upon such transaction, the entire
               premium for this Policy shall be deemed fully earned. The Insureds shall give the
               Insurer written notice of such transaction as soon as practicable, but not later than
               90 days after the effective date of such transaction.

         B.    Acquisition or Creation of Subsidiary
               If, before or during the Policy Period, any Insured Organization:

               1.     creates or acquires a Subsidiary; or




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              2.      merges with another organization such that the Insured Organization is the
                      surviving entity,

              then such newly created, acquired or merged organization and its Insureds shall be
              covered under this Policy for Wrongful Acts (under a Liability Coverage Part) or
              covered Loss (under the Crime Coverage Part) occurring after such acquisition,
              merger or creation. No coverage shall be available for any: (i) Wrongful Act (under
              a Liability Coverage Part) or Loss (under the Crime Coverage Part) of any new
              Insureds occurring before such transaction; or (ii) any Interrelated Wrongful Acts
              thereto.

              If the fair value of the assets of any newly acquired or merged organization exceeds
              25% of the total consolidated assets of the Named Organization as reflected in its
              most recent consolidated audited financial statements prior to such merger or
              acquisition, then as a condition precedent to coverage for such new Insureds, the
              Named Organization shall give the Insurer written notice of the transaction as soon
              as practicable, pay any reasonable additional premium, and be subject to any
              additional terms and conditions required by the Insurer. The Insureds shall furnish
              all information regarding such transaction as the Insurer shall request.

         C.   Loss of Subsidiary Status

              If, before or during the Policy Period, any organization ceases to be a Subsidiary,
              then coverage shall be available under this Policy for such Subsidiary and its
              Insureds, but only for Claims for covered Wrongful Acts (under a Liability
              Coverage Part) or covered Loss (under the Crime Coverage Part) occurring before
              such transaction. No coverage shall be available to such Insureds for any Wrongful
              Act (under a Liability Coverage Part) or covered Loss (under the Crime Coverage
              Part) occurring after such transaction.

   15.   APPLICATION

         A.   The Insureds represent that the information contained in the Application is true,
              accurate and complete. This Policy is issued in reliance upon the Application. If the
              Application contains misrepresentations or omissions made with intent to deceive
              or that materially affect the acceptance of the risk or the hazard assumed by the
              Insurer, this Policy shall be void ab initio and shall not afford coverage for any
              Insureds who knew on the inception date of this Policy the facts that were not
              truthfully disclosed in the Application, whether or not the Insureds knew the
              Application contained such misrepresentation or omission.

         B.   For the purpose of determining coverage, knowledge possessed by:

              1.      any Insured Person shall not be imputed to any other Insured Person; and

              2.      the Named Organization’s chairman of the board, chief executive officer,
                      president, chief operating officer, chief financial officer, limited liability
                      company manager, or anyone signing the Application shall be imputed to all
                      Insureds other than Insured Persons.

   16.   SUITS AGAINST THE INSURER
         A.   No suit or other proceeding shall be commenced by the Insureds against the
              Insurer unless there shall have been full compliance with all the terms and
              conditions of this Policy.

         B.   No person or organization shall have any right under this Policy to join the Insurer


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               as a party to any Claim against the Insureds nor shall the Insurer be impleaded by
               the Insureds in any Claim.

   17.   ENTIRE AGREEMENT

         This Policy, including the Declarations, General Provisions, elected Coverage Part(s),
         written endorsements, and the Application shall constitute the entire agreement between
         the Insurer and the Insureds regarding the insurance provided hereunder.

   18.   CHANGES

         This Policy shall not be changed in any manner except by a written endorsement issued by
         the Insurer.

   19.   ASSIGNMENT

         Assignment of any interest under this Policy shall not bind the Insurer unless such
         assignment is acknowledged by a written endorsement issued by the Insurer.

   20.   NAMED ORGANIZATION’S AUTHORITY

         The Named Organization shall act on behalf of all Insureds regarding all matters under
         this Policy, including, without limitation, cancellation, election of the Extended Reporting
         Period, transmission and receipt of notices, reporting of Claims and potential Claims,
         acceptance of endorsements, payment of premiums, and receipt of return premiums.

   21.   CANCELLATION

         A.    The Insurer may cancel this Policy for non-payment of premium by sending not less
               than 20 days notice to the Named Organization. This Policy may not otherwise be
               cancelled by the Insurer.

         B.    Except as otherwise provided, the Named Organization may cancel this Policy by
               sending written notice of cancellation to the Insurer. Such notice shall be effective
               upon receipt by the Insurer unless a later cancellation date is specified therein.

         C.    If the Insurer cancels this Policy, unearned premium shall be calculated on a pro
               rata basis. If the Insureds cancel this Policy, unearned premium shall be calculated
               at the Insurer’s customary short rates. Payment of any unearned premium shall not
               be a condition precedent to the effectiveness of a cancellation. The Insurer shall
               make payment of any unearned premium as soon as practicable.

   22.   BANKRUPTCY

         Bankruptcy or insolvency of any Insureds shall not relieve the Insurer of any of its
         obligations under this Policy.

   23.   NOTICES

         A.    Notices to the Insureds shall be sent to the Named Organization at the address
               specified in Item 1 of the Declarations.

         B.    Notices to the Insurer shall be sent to the applicable address specified in Item 5 of
               the Declarations and become effective upon receipt at such address.

         C.    All notices shall be in writing.



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   24.   TITLES

         The titles of the sections of, and endorsements to, this Policy are for reference only. Such
         titles shall not be part of the terms and conditions of coverage.

   25.   REFERENCES TO LAWS

         A.    Any statute, act, or code mentioned in this Policy shall be deemed to include all
               amendments of, and rules and regulations promulgated under, such statute, act, or
               code.

         B.    Any statute, act, or code mentioned in this Policy that is followed by the phrase “or
               any similar law” shall be deemed to include all similar laws of all jurisdictions
               throughout the world, including, without limitation, any common law.

   26.   COVERAGE PART COORDINATION

         Regarding the Liability Coverage Parts only:

         A.    If any Loss is covered under the Employment Practices Liability Coverage Part and
               any other Liability Coverage Part:

               1.     the Insurer shall first pay such Loss under the Employment Practices Liability
                      Coverage Part prior to paying such Loss under any other Liability Coverage
                      Part; and

               2.     the Insureds shall be entitled to recover Loss only once.

         B.    Regardless of the Liability Coverage Part under which a notice of claim or potential
               claim is given by the Insureds, the Insurer shall be entitled to make its own
               determination as to which Liability Coverage Part, if any, Loss is covered and
               should be paid.




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                    DIRECTORS, OFFICERS, & ORGANIZATION
                          LIABILITY COVERAGE PART

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                       DIRECTORS, OFFICERS, & ORGANIZATION
                             LIABILITY COVERAGE PART
1.    INSURING AGREEMENTS

      A.   Insured Person Liability

           The Insurer shall pay Non-Indemnifiable Loss on behalf of the Insured Persons resulting
           from a Claim first made against the Insured Persons during the Policy Period or Extended
           Reporting Period, if applicable, for a Wrongful Act by the Insured Persons.

      B.   Organization Reimbursement

            The Insurer shall pay Loss on behalf of an Insured Organization that such Insured
            Organization has, to the extent permitted or required by law, indemnified the Insured
            Persons resulting from a Claim first made against the Insured Persons during the Policy
            Period or Extended Reporting Period, if applicable, for a Wrongful Act by the Insured
            Persons.

      C.   Organization Liability

           The Insurer shall pay Loss on behalf of an Insured Organization resulting from a Claim
           first made against such Insured Organization during the Policy Period or Extended
           Reporting Period, if applicable, for a Wrongful Act by an Insured Organization.

      D.   Derivative Demands

            The Insurer shall pay Investigation Costs on behalf of an Insured Organization resulting
            from a Derivative Demand first made during the Policy Period or Extended Reporting
            Period, if applicable.

            This Insuring Agreement shall be subject to a Sublimit of Liability of $250,000. Such
            Sublimit of Liability shall be the maximum aggregate amount that the Insurer shall pay
            under this Insuring Agreement. Such Sublimit of Liability shall be part of, and not in addition
            to, the Limit of Liability applicable to this Liability Coverage Part. No Deductible shall
            apply to this Insuring Agreement.

2.    DEFINITIONS

      Whether used in the singular or plural, the following terms shall have the meanings specified
      below:

      A.   “Claim” means any:

           1.     written demand for monetary or non-monetary relief commenced by the Insured’s
                  receipt of such demand;

           2.     civil proceeding commenced by the service upon the Insured of a complaint or similar
                  pleading;

           3.     criminal proceeding commenced by the return of an indictment, information or similar
                  pleading;

           4.     formal administrative or regulatory proceeding of an Insured Person commenced by
                  the filing of a notice of charges or any similar document;



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           5.    formal administrative or regulatory investigation of an Insured Person commenced by
                 the service upon or other receipt by such Insured Person of a written notice from an
                 investigating authority specifically identifying such Insured Person as a target against
                 whom a formal proceeding may be commenced;

           6.    written request to an Insured to toll or waive a statute of limitations regarding a
                 potential Claim as described above, commenced by the Insured’s receipt of such
                 request; or

           7.    solely for purposes of Insuring Agreement D, any Derivative Demand.

     B.    “Derivative Demand” means a written demand by any security holder of an Insured
           Organization, in their capacity as such, upon the board of directors or managers of such
           Insured Organization to bring a civil proceeding on behalf of an Insured Organization
           against an Insured Person for a Wrongful Act of such Insured Person if such demand is
           made without the assistance, participation or solicitation of any Executive. A Derivative
           Demand shall be deemed commenced by the receipt by the board of directors or managers
           of such demand.

     C.    “Derivative Suit” means any civil proceeding against an Insured Person for a Wrongful
           Act of such Insured Person made on behalf of, or in the name or the right of, an Insured
           Organization by any security holders of such Insured Organization, in their capacity as
           such, if such proceeding is made without the assistance, participation or solicitation of any
           Executive.

     D.    “Employee” means any natural person whose labor or service was, is or shall be engaged
           and directed by any Insured Organization, including fulltime, part-time, seasonal, leased
           and temporary employees as well as volunteers. Employee shall not include any
           Independent Contractor.

     E.    “Executive” means any natural person who was, is or shall be a duly elected or appointed:

           1.    director, officer, or member of the board of the managers or management committee
                 of an Insured Organization;

           2.    in-house general counsel of an Insured Organization; or

           3.    manager of an Insured Organization organized outside the United States of America
                 if such position is equivalent to those specified in 1 or 2 above.

     F.    “Insured Person” means any:

           1.    Executive; or

           2.    Employee.

     G.    “Insureds” means any:

           1.    Insured Organization; or

           2.    Insured Person.

     H.    “Investigation Costs” means reasonable and necessary expenses incurred in the
           investigation and evaluation of a Derivative Demand, provided that Investigation Costs
           shall not include compensation, benefit expenses, or overhead of any Insureds.




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      I.    “Loss” means the amount that the Insureds are legally obligated to pay resulting from a
            Claim, including, without limitation, damages, settlements, judgments, pre- and
            post-judgment interest, Defense Costs, and Investigation Costs.

            Loss shall include punitive and exemplary damages where insurable by law. The
            insurability of such damages shall be governed by the laws of any applicable jurisdiction that
            permits coverage of such damages.

            Loss shall exclude any:

            1.    taxes, fines or penalties imposed by law;

            2.    multiple portion of any multiplied damage award;

            3.    matters that are uninsurable under the law pursuant to which this Policy shall be
                  construed;

            4.    amount for which the Insureds are not financially liable or for which the claimants are
                  without legal recourse to the Insureds; or

            5.    non-monetary relief.

      J.    “Outside Capacity” means service by an Insured Person as a director, officer, trustee,
            regent, governor or equivalent executive of an Outside Organization with the knowledge
            and consent, or at the request, of an Insured Organization.

      K.    “Outside Organization” means any:

            1.    not-for-profit corporation, community chest, fund or foundation that is not an Insured
                  Organization and that is exempt from federal income tax as an organization
                  described in Section 501(c)(3) of the Internal Revenue Code of 1986;

            2.    organization established for a religious or charitable purpose under any not-for-profit
                  statute; or

            3.    organization listed as an Outside Organization in a written endorsement issued by
                  the Insurer.

      L.    “Wrongful Act” means any actual or alleged:

            1.    act, error, omission, misstatement, misleading statement, neglect or breach of duty by
                  Insured Persons in their capacity as such or in an Outside Capacity or, with respect
                  to Insuring Agreement C, by any Insured Organization; or

            2.    matter claimed against an Insured Person solely by reason of their serving in such
                  capacity, including service in an Outside Capacity.

3.    OUTSIDE DIRECTORSHIP LIABILITY COVERAGE

      Subject to the provisions applicable to this Liability Coverage Part, coverage is afforded for Loss
      from any Claim against an Insured Person for a Wrongful Act in an Outside Capacity. Such
      coverage shall be specifically excess of any indemnity and insurance available from or provided by
      the Outside Organization. Payment by the Insurer, or any insurance company controlling,
      controlled by or under common control with the Insurer, under any other insurance policy as a
      result of such Claim shall reduce, by the amount of such payment, the Limit of Liability available
      under this Policy for such Claim.



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4.    EXCLUSIONS

      A.   The Insurer shall not pay Loss for any Claim against an Insured:

           1.    arising from, based upon, or attributable to any fact, circumstance or situation that,
                 before the inception date of this Policy, was the subject of any notice given under any
                 other insurance policy;

           2.    arising from, based upon, or attributable to any:

                 a.    demand, suit or proceeding made or initiated against any Insured on or prior to
                       the applicable Pending and Prior Litigation Date in Item 6 of the Declarations;
                       or

                 b.    Wrongful Act specified in such prior demand, suit or proceeding or any
                       Interrelated Wrongful Acts thereto;

           3.    for bodily injury, sickness, disease, emotional distress, mental anguish, or death of
                 any person, or damage to or destruction of any tangible property, including loss of use
                 thereof;

           4.    arising from, based upon, or attributable to any:

                 a.    discharge, dispersal, release, escape, seepage, migration or disposal of
                       Pollutants, nuclear material or nuclear waste or any threat of such discharge,
                       dispersal, release, escape, seepage, migration or disposal; or

                 b.    direction, request or voluntary decision to test for, abate, monitor, clean up,
                       remove, contain, treat, detoxify or neutralize Pollutants, nuclear material or
                       nuclear waste,

                  provided that this exclusion shall not apply to any Non-Indemnifiable Loss or any
                  Derivative Demand otherwise covered under Insuring Agreement D;

           5.    for any violation of ERISA or any similar law;

           6.    by or on behalf of any Insured, provided that this exclusion shall not apply to any
                 Claim:

                 a.    that is a Derivative Demand or Derivative Suit;

                 b.    by an Insured Person for contribution or indemnification if such Claim directly
                       results from a Claim that is otherwise covered under this Liability Coverage
                       Part;

                 c.    by any Employee who is not a past or present Executive if such Claim is
                       made without the assistance, participation or solicitation of any Executive;

                 d.    by an Executive for wrongful employment termination,                employment
                       discrimination or other employment practices Wrongful Acts;

                 e.    by a former Executive who has not served as an Executive for at least four
                       years prior to such Claim being made, provided that such Claim is made
                       without the assistance, participation or solicitation of any current Executive or
                       any former Executive who has served as an Executive during the four years
                       prior to such Claim being made;



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                 f.    by any trustee appointed to administer the estate of any Insured Organization
                       under the United States Bankruptcy Code or any similar law; or

                 g.    made in a jurisdiction outside the United States of America, Canada or
                       Australia by an Insured Person of an Insured Organization organized in such
                       jurisdiction;

           7.    arising from, based upon, or attributable to any Insured Person serving as a director,
                 officer, trustee, regent, governor or equivalent executive or as an employee of any
                 entity other than an Insured Organization even if such service is at the direction or
                 request of the Insured Organization, provided that this exclusion shall not apply to a
                 Claim for a Wrongful Act by an Insured Person in an Outside Capacity;

           8.    by or on behalf of any Outside Organization, or any director, officer, trustee, regent,
                 governor or equivalent executive of any Outside Organization, provided that this
                 exclusion shall not apply to any Claim:

                 a.    that is a derivative suit made on behalf of an Outside Organization by any
                       persons who are not:

                       1.        Insured Persons; or

                       2.      directors, officers, trustees, regents,        governors    or    equivalent
                       executives      of the Outside Organization,

                       and who make such Claim without the solicitation, assistance or participation of
                       any such persons; or

                 b.    by any:

                       1.     Insured Persons; or

                       2.      directors, officers, trustees, regents,        governors    or    equivalent
                       executives      of an Outside Organization,

                       for contribution or indemnification if such Claim directly results from a Claim
                       that is otherwise covered under this Liability Coverage Part;

           9.    arising from, based upon, or attributable to any public offering of securities of an
                 Insured Organization or the purchase or sale of such securities subsequent to such
                 public offering; provided that this exclusion shall not apply to any Claim:

                 a.    for a Wrongful Act in an offering of securities of an Insured Organization to
                       any accredited investor in a transaction that is exempt from registration under
                       the Securities Act of 1933 (“accredited investor” shall have the meaning
                       specified for such term in Rule 501 of Regulation D of the General Rules and
                       Regulations promulgated under the Securities Act of 1933); or

                 b.    made by any security holders of an Insured Organization for the failure of the
                       Insured Organization to undertake or complete an initial public offering of
                       securities of such Insured Organization;

           10.   arising from, based upon, or attributable to the gaining, in fact, of any personal profit,
                 remuneration or advantage to which such Insured is not legally entitled; or




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           11.   arising from, based upon, or attributable to any deliberately fraudulent or criminal act
                 or omission or any willful violation of law by such Insured if a judgment or other final
                 adjudication in such Claim or another proceeding establishes that such act, omission
                 or violation occurred.

           Regarding exclusions 10 and 11 above: (i) no Wrongful Act of any Insured Person shall
           be imputed to any other Insured Person; and (ii) only a Wrongful Act by a past, present or
           future chairman of the board, chief executive officer, president, chief operating officer, chief
           financial officer or limited liability company manager of any Insured Organization shall be
           imputed to an Insured Organization.

      B.   The Insurer shall not pay Loss for any Claim against an Insured Organization:

           1.    arising from, based upon, or attributable to any liability under any contract or
                 agreement, provided that this exclusion shall not apply to the extent that liability would
                 have been incurred in the absence of such contract or agreement;

           2.    arising from, based upon, or attributable to any wrongful employment termination,
                 employment discrimination, or other employment practices Wrongful Act;

           3.    arising from, based upon, or attributable to the rendering of, or failure to render, any
                 professional services for others, including, without limitation, services performed by
                 the Insureds for or on behalf of a customer or client;

           4.    arising from, based upon, or attributable to defamation, invasion of privacy, wrongful
                 entry or eviction, false arrest or imprisonment, malicious prosecution, abuse of
                 process, assault, battery or loss of consortium;

           5.    arising from, based upon, or attributable to infringement of any intellectual property
                 rights, including, without limitation, copyrights, patents, trademarks, trade names,
                 trade dress, service marks, or trade secrets;

           6.    arising from, based upon, or attributable to price fixing, restraint of trade,
                 monopolization, unfair trade practices or any violation of the Federal Trade
                 Commission Act, Sherman Anti-Trust Act, Clayton Act, or any similar law regulating
                 anti-trust, monopoly, price fixing, price discrimination, predatory pricing or restraint of
                 trade activities;

           7.    arising from, based upon, or attributable to discrimination or sexual harassment; or

           8.    arising from, based upon, or attributable to the payment by an Insured Organization
                 of inadequate consideration in connection with an Insured Organization’s purchase
                 of securities issued by any Insured Organization; provided that this exclusion shall
                 not apply to Defense Costs.

5.    PRIORITY OF NON-INDEMNIFIABLE LOSS PAYMENTS

      A.   If Loss is incurred that is acknowledged by the Insurer to be covered under this Liability
           Coverage Part except that such Loss exceeds the remaining Limit of Liability for this
           Liability Coverage Part, the Insurer shall pay that portion of such Loss constituting
           Non-Indemnifiable Loss covered under Insuring Agreement A before paying Loss covered
           under any other Insuring Agreements.

      B.   If Loss is incurred that is acknowledged by the Insurer to be covered under any Insuring
           Agreement of this Liability Coverage Part other than Insuring Agreement A, the Named
           Organization shall have the right to direct the Insurer to delay payment of such Loss until



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            such time as the Named Organization specifies. Any such direction by the Named
            Organization to delay or make payment of Loss shall be by written notice to the Insurer.
            The Insurer’s liability under this Policy shall not be increased, and the Insurer shall not be
            liable for any interest, as a result of any such delayed Loss payment. Any such delayed
            payment of Loss shall be available to the Insurer to pay Non-Indemnifiable Loss covered
            under Insuring Agreement A. Any Non-Indemnifiable Loss payment by the Insurer under
            Insuring Agreement A out of funds withheld pursuant to this provision shall terminate the
            Insurer’s liability to make a delayed payment of Loss under any other Insuring Agreement
            by the amount of such Non-Indemnifiable Loss payment.

6.    ADDITIONAL LIMIT OF LIABILITY

      A.    If an Additional $500,000 Limit of Liability for Claims against Insured Persons(“Additional
            Limit of Liability”) is elected in Item 6 the Declarations, then an additional limit of liability of
            $500,000 shall be available to pay Non-Indemnifiable Loss covered under Insuring
            Agreement A.

      B.    Any Additional Limit of Liability shall be in addition to, and not part of, the Limit of Liability
            otherwise applicable to this Liability Coverage Part as specified in Item 6 of the
            Declarations.

      C.    Any Additional Limit of Liability shall be excess of any valid and collectible insurance that is
            specifically excess of this Policy. Such excess insurance must be exhausted by the
            payment of loss covered thereunder before the Insurer shall be liable to pay the Additional
            Limit of Liability.

      D.    Non-Indemnifiable Loss covered under Insuring Agreement A shall be allocated between,
            and paid by the Insurer under, the applicable Limit of Liability specified in Item 6 of the
            Declarations and any Additional Limit of Liability in whatever portions will maximize the total
            amount of covered Loss being paid under this Policy.

7.    PUBLIC OFFERING OF SECURITIES

      If a public offering of an Insured Organization’s securities occurs during the Policy Period that is
      not exempt from registration under the Securities Act of 1933, the Insurer shall furnish the
      Insureds with a quote for directors and officers liability insurance coverage of such offering,
      provided that:

      A.    at least 30 days prior to the effective date of such offering, the Insureds shall give the
            Insurer written notice of such offering together with all information requested by the Insurer;
            and

      B.    such quote shall be on such terms and conditions, including any additional premium, as the
            Insurer, in its sole discretion, chooses.




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                            EMPLOYMENT PRACTICES LIABILITY
                                   COVERAGE PART
1.    INSURING AGREEMENTS

      A.    Employment Practices Liability

            The Insurer shall pay Loss on behalf of the Insureds resulting from a Claim by or on behalf
            of an Employee, applicant for employment, governmental agency, or Independent
            Contractor first made against the Insureds during the Policy Period or Extended Reporting
            Period, if applicable, for a Wrongful Act by the Insureds.

      B.    Third Party Liability

            If Third Party Liability coverage is elected in Item 6 of the Declarations, the Insurer shall pay
            Loss on behalf of the Insureds resulting from a Claim by or on behalf of a Third Party first
            made against the Insureds during the Policy Period or Extended Reporting Period, if
            applicable, for a Wrongful Act by the Insureds.

            This Insuring Agreement shall be subject to the Third Party Coverage Sublimit of Liability,
            Deductible, and Pending and Prior Litigation Date specified in Item 6 of the Declarations.
            Such Sublimit of Liability shall be the maximum aggregate amount that the Insurer shall pay
            under this Insuring Agreement. Such Sublimit of Liability shall be part of, and not in addition
            to, the Limit of Liability applicable to this Liability Coverage Part.

2.    DEFINITIONS

      Whether used in the singular or plural, the following terms shall have the meanings specified
      below:

      A.    “Benefits” means all compensation other than salary, wages, bonuses, and Stock
            Benefits. Benefits include, without limitation, retirement benefits, perquisites, vacation and
            sick days, medical or insurance benefits, and deferred compensation.

      B.    “Claim” means any:

            1.    written demand for monetary or non – monetary relief commenced by the Insured’s
                  receipt of such demand;

            2.    civil proceeding commenced by the service upon the Insured of a complaint or similar
                  pleading;

            3.    formal administrative or regulatory proceeding commenced by the filing of a notice of
                  charges or any similar document, including, without limitation, proceedings before the
                  Equal Employment Opportunity Commission and the Office of Federal Contract
                  Compliance Program;

            4.    formal administrative or regulatory investigation commenced by the service upon or
                  other receipt by an Insured of a written notice from an investigating authority
                  identifying the Insured as a target against whom an administrative or regulatory
                  proceeding may be commenced; or

            5.    written request to an Insured to toll or waive a statute of limitations regarding a
                  potential Claim as described above, commenced by the Insured’s receipt of such
                  request.




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           Notwithstanding the above, Claim shall not include any labor or grievance proceeding
           initiated pursuant to any collective bargaining agreement.

     C.    “Employee” means any natural person whose labor or service was, is or shall be engaged
           and directed by any Insured Organization, including fulltime, part-time, seasonal, leased
           and temporary employees as well as volunteers. Employee shall not include any
           Independent Contractor.

     D.    “Executive” means any natural person who was, is or shall be a duly elected or appointed:

           1.    director, officer, or member of the board of managers or management committee of
                 an Insured Organization;

           2.    in-house general counsel of an Insured Organization; or

           3.    manager of an Insured Organization organized outside the United States of America
                 if such position is equivalent to those specified in 1 or 2 above.

     E.    “Insured Person” means any:

           1.    Executive;

           2.    Employee; or

           3.    Independent Contractor, but only if an Insured Organization agrees in writing within
                 30 days of the making of a Claim to provide indemnification to such Independent
                 Contractor for any Loss arising out of such Claim.

     F.    “Insureds” means any:

           1.    Insured Organization; or

           2.    Insured Person.

     G.    “Loss” means the amount that the Insureds are legally obligated to pay resulting from a
           Claim, including, without limitation, damages (including front pay and back pay),
           settlements, judgments, pre- and post-judgment interest, and Defense Costs.

           Loss shall include: (i) punitive, exemplary and multiple damages; and (ii) liquidated damages
           awarded pursuant to the Age Discrimination in Employment Act or Equal Pay Act, where
           insurable by law. The insurability of such damages shall be governed by the laws of any
           applicable jurisdiction that permits coverage of such damages.

           Loss shall exclude any:

           1.    taxes, fines or penalties imposed by law;

           2.    matters that are uninsurable under the law pursuant to which this Policy shall be
                 construed;

           3.    amount for which the Insureds are not financially liable or for which the claimants are
                 without legal recourse to the Insureds;

           4.    non-monetary relief;




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           5.    future compensation of a claimant who was, is or shall be hired, promoted or
                 reinstated to employment pursuant to a settlement of, order in or other resolution of a
                 Claim;

           6.    Stock Benefits; or

           7.    compensation earned by or due to the claimant in the course of employment but not
                 paid by an Insured Organization, other than back pay or front pay.

     H.    “Retaliation” means any actual or alleged negative treatment of any Executive, Employee,
           or Independent Contractor by any Insured Persons in their capacity as such or by any
           Insured Organization in response to any such person:

           1.    exercising any rights granted under law, including, without limitation, rights under any
                 workers compensation laws, the Family and Medical Leave Act, or the Americans with
                 Disabilities Act;

           2.    refusing to violate any law;

           3.    assisting, testifying in, or cooperating with, a proceeding or investigation regarding
                 violations of law by any Insured Organization;

           4.    disclosing or threatening to disclose any violations of law to a superior or any
                 governmental agency; or

           5.    filing any claim against any Insured Organization under the Federal False Claims Act
                 or any similar law protecting “whistleblowers”.

     I.    “Stock Benefits” means any offering, plan or agreement between any Insured
           Organization and any Insured Person granting stock, stock options or stock appreciation
           rights in any Insured Organization to such Insured Person, including, without limitation,
           restricted stock or any other stock grant. Notwithstanding the foregoing, Stock Benefits
           shall not include employee stock ownership plans or employee stock purchase plans.

     J.    “Third Party” means any natural person who is a customer, vendor, service provider or
           other business invitee of any Insured Organization. Third Party shall not include
           Employees.

     K.    “Wrongful Act” means:

           1.    regarding Insuring Agreement A, any actual or alleged:

                 a.    wrongful dismissal, discharge or termination of employment, including
                       constructive dismissal, discharge, or termination;

                 b.    employment discrimination based on age, gender, race, color, national origin,
                       religion, sexual orientation or preference, pregnancy, disability, health status,
                       military or veteran status, or any other protected status specified under federal,
                       state or local law;

                 c.    sexual or other workplace harassment, including, without limitation, hostile work
                       environment;

                 d.    employment-related misrepresentation;




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                 e.    wrongful deprivation of a career opportunity, demotion, failure to employ or
                       promote, discipline of employees or failure to grant tenure;

                 f.    breach of any oral, written, or implied employment contract or agreement
                       including, without limitation, any obligation arising out of any employee manual,
                       handbook, or policy statement;

                 g.    Retaliation;

                 h.    negligent evaluation of employees;

                 i.    employment-related libel, slander, defamation, or invasion of privacy, including
                       the giving of negative or defamatory statements in connection with an
                       employee reference;

                 j.    violation of the Family and Medical Leave Act; or

                 k.    infliction of emotional distress or mental anguish, failure to provide or enforce
                       adequate or consistent corporate employment policies and procedures, or
                       negligent hiring, retention, supervision or training of Employees, if such
                       conduct relates to matters described in paragraphs a through j above;

                 but only if the Wrongful Act described in 1.a through 1.k above is committed or
                 attempted: (i) against an Employee, applicant for employment with any Insured
                 Organization, or Independent Contractor; and (ii) by any Insured Persons in their
                 capacity as such or by any Insured Organization; or

           2.    regarding Insuring Agreement B, any actual or alleged discrimination, sexual
                 harassment, or violation of a Third Party’s civil rights relating to such discrimination
                 or sexual harassment, by any Insured Persons in their capacity as such or by any
                 Insured Organization.

3.    EXCLUSIONS

      A.   The Insurer shall not pay Loss for any Claim against an Insured:

           1.    arising from, based upon, or attributable to any fact, circumstance or situation that,
                 before the inception date of this Policy, was the subject of any notice given under any
                 other insurance policy;

           2.    arising from, based upon, or attributable to any:

                 a.    demand, suit or proceeding, or any audit by the Office of Federal Contract
                       Compliance Programs, made or initiated against any Insured on or prior to the
                       applicable Pending and Prior Litigation Date in Item 6 of the Declarations; or

                 b.    any Wrongful Act alleged in any such demand, suit, proceeding, or audit or
                       any Interrelated Wrongful Acts thereto;

           3.    for bodily injury, sickness, disease, or death of any person, or damage to or
                 destruction of any tangible property, including loss of use thereof; provided that this
                 exclusion shall not apply to any Claim for emotional distress or mental anguish;

           4.    arising from, based upon, or attributable to any:




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                 a.     discharge, dispersal, release, escape, seepage, migration or disposal of
                        Pollutants, nuclear material or nuclear waste or any threat of such discharge,
                        dispersal, release, escape, seepage, migration or disposal; or

                 b.     direction, request or voluntary decision to test for, abate, monitor, clean up,
                        remove, contain, treat, detoxify or neutralize Pollutants, nuclear material or
                        nuclear waste,

                 provided that this exclusion shall not apply to any Claim for Retaliation;

           5.    for any violation of: (i) any law governing workers’ compensation, unemployment
                 insurance, social security, disability or pension benefits laws; (ii) ERISA (except
                 Section 510 thereof); (ii) the Fair Labor Standards Act (except the Equal Pay Act); (iii)
                 the National Labor Relations Act; (iv) the Worker Adjustment and Retraining
                 Notification Act; (v) the Consolidated Omnibus Budget Reconciliation Act of 1985; (vi)
                 the Occupational Safety and Health Act; or (vii) any similar laws to those mentioned in
                 (i) through (vi) above; provided that this exclusion shall not apply to any Claim for
                 Retaliation;

           6.    arising from, based upon, or attributable to any liability of others assumed by any
                 Insured under any contract or agreement, provided that this exclusion shall not apply
                 to the extent that liability would have been incurred in the absence of such contract or
                 agreement; or

           7.    arising from, based upon, or attributable to any breach of contract or agreement
                 specifying the terms of an Insured Organization’s engagement of an Independent
                 Contractor.

      B.   Other than Defense Costs, the Insurer shall not pay Loss for any Claim against an
           Insured:

           1.    for costs of any accommodation required by the Americans with Disabilities Act or any
                 similar law;

           2.    for employment termination severance payments, provided that this exclusion shall
                 not apply to any payments negotiated with and consented to by the Insurer as part of
                 a settlement;

           3.    for Benefits or their equivalent value, provided that this exclusion shall not apply to
                 any Claim for wrongful dismissal, discharge or termination of employment; or

           4.    arising from, based upon, or attributable to any breach of any written employment
                 contract or agreement, provided that this exclusion shall not apply to any liability that
                 would have been incurred in the absence of such written employment contract or
                 agreement.

      C.   Regarding Insuring Agreement B, the Insurer shall not pay Loss for any Claim against an
           Insured arising from, based upon, or attributable to any price discrimination or violation of
           any anti-trust or other law designed to protect competition or prevent unfair trade practices.

4.    OTHER INSURANCE

      A.   To the extent that any Claim is covered under this Liability Coverage Part and any other
           insurance, the coverage provided under this Liability Coverage Part shall be primary.




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     B.    Notwithstanding the above:

           1.    regarding any Claim made against a leased or temporary Employee or an
                 Independent Contractor, coverage under this Liability Coverage Part shall be
                 excess of, and not contribute with, any applicable insurance insuring the employee
                 leasing company, temporary employee agency, or Independent Contractor; and

           2.    regarding any Claim made by or on behalf of a Third Party, coverage under this
                 Liability Coverage Part shall be excess of, and not contribute with, any other
                 applicable insurance insuring the Insureds on a duty to defend basis,

           regardless of whether such other insurance is stated to be excess, contributory, contingent
           or otherwise, unless such other insurance is written specifically excess of this Policy by
           reference in such other insurance to this Policy’s Policy Number.




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                             FIDUCIARY LIABILITY
                               COVERAGE PART

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2.     DEFINITIONS
3.     EXCLUSIONS
4.     TERMINATED PLAN COVERAGE




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                                      FIDUCIARY LIABILITY

                                         COVERAGE PART
1.    INSURING AGREEMENTS

      A.    Fiduciary Liability

            The Insurer shall pay Loss on behalf of the Insureds resulting from a Claim first made
            against the Insureds during the Policy Period or Extended Reporting Period, if applicable,
            for a Wrongful Act by the Insureds or by any person for whose Wrongful Acts the
            Insureds are legally responsible.

      B.    Settlement Programs

            The Insurer shall pay a Voluntary Settlement and Defense Costs on behalf of the
            Insureds resulting from a Settlement Program Notice first given to the Insurer during the
            Policy Period or Extended Reporting Period, if applicable, provided that such Voluntary
            Settlement and Defense Costs are incurred after such Settlement Program Notice is first
            given to the Insurer.

            This Insuring Agreement shall be subject to a Sublimit of Liability of $100,000. Such
            Sublimit of Liability shall be the maximum aggregate amount that the Insurer shall pay
            under this Insuring Agreement. Such Sublimit of Liability shall be part of, and not in addition
            to, the Limit of Liability applicable to this Liability Coverage Part. No Deductible shall apply
            to this Insuring Agreement.

2.    DEFINITIONS

      Whether used in the singular or plural, the following terms shall have the meanings specified
      below:

      A.    “Administration” means:

            1.    advising, counseling or giving notice to Employees, participants or beneficiaries
                  regarding any Plan;

            2.    providing interpretations regarding any Plan; or

            3.    handling records or enrolling, terminating or canceling Employees, participants or
                  beneficiaries regarding any Plan.

      B.    “Claim” means any:

            1.    written demand for monetary or non-monetary relief commenced by the Insureds’
                  receipt of such demand;

            2.    civil proceeding commenced by the service upon the Insureds of a complaint or
                  similar pleading;

            3.    criminal proceeding commenced by the return of an indictment, information or similar
                  pleading;

            4.    formal administrative or regulatory proceeding commenced by the filing of a notice of




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                 charges or any similar document;

           5.    formal administrative or regulatory governmental investigation (including a fact-finding
                 investigation by the Department of Labor, Pension Benefit Guaranty Corporation or
                 similar authority) of an Insured commenced by the service upon or other receipt by
                 such Insured of a written notice from an investigating authority identifying such
                 Insured as a target against whom a formal proceeding may be commenced;

           6.    written request to an Insured to toll or waive a statute of limitations regarding a
                 potential Claim as described in 1 through 5 above, commenced by the Insured’s
                 receipt of such request; or

           7.    regarding Insuring Agreement B, a Settlement Program Notice.

     C.    “Employee” means any natural person whose labor or service was, is or shall be engaged
           by and directed by any Insured Organization or Plan, including fulltime, part-time,
           seasonal, leased and temporary employees as well as volunteers. Employee shall not
           include any Independent Contractor.

     D.    “Executive” means any natural person who was, is or shall be a duly elected or appointed:

           1.    director, officer, or member of the board of managers or management committee of
                 an Insured Organization;

           2.    in-house general counsel of an Insured Organization; or

           3.    manager of an Insured Organization organized outside the United States of America
                 if such position is equivalent to those specified in 1 or 2 above.

     E.    “Insured Person” means any:

           1.    Executive;

           2.    Employee;

           3.    natural person who was, is or shall be a duly elected or appointed trustee of any Plan;
                 or

           4.    a fiduciary of a Plan if such person is specifically included as an Insured Person in a
                 written endorsement issued by the Insurer.

     F.    “Insureds” means any:

           1.    Insured Organization;

           2.    Plan; or

           3.    Insured Persons.

     G.    “Loss” means the amount that the Insureds are legally obligated to pay resulting from a
           Claim, including, without limitation, damages, settlements, judgments, pre- and
           post-judgment interest, and Defense Costs. Regarding Insuring Agreement B, “Loss”
           means Voluntary Settlements and Defense Costs.

           Loss shall include punitive and exemplary damages where insurable by law. The insurability
           of such damages shall be governed by the laws of any applicable jurisdiction that permits



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           coverage of such damages.

           Loss shall exclude any:

           1.    taxes, fines or penalties imposed by law other than any;

                 a.    five percent (5%) or less, or twenty percent (20%) or less, civil penalties
                       imposed under Section 502(i) or (l), respectively, of ERISA;

                 b.    civil penalties imposed by the Pension Ombudsman appointed by the United
                       Kingdom Secretary of State for Social Services or by the Occupational
                       Pensions Regulatory Authority in the United Kingdom or any successor thereto;
                       provided any coverage for such civil penalties applies only if the funds or
                       assets of the subject Plan are not used to fund, pay or reimburse the premium
                       for this Policy;

                 c.    civil penalties imposed upon an Insured for violation of the privacy provisions
                       of the Health Insurance Portability and Accountability Act of 1996, provided that
                       the Insurer’s maximum aggregate liability for all such civil money penalties
                       under this Policy shall be subject to a sublimit of $25,000 that shall be the
                       maximum aggregate amount that the Insurer shall pay for all such penalties
                       and shall be part of, and not in addition to, the Limit of Liability applicable to this
                       Liability Coverage Part; or

                 d.    solely with respect to Insuring Agreement B, Voluntary Settlements;

           2.    multiple portion of any multiplied damage award;

           3.    matters that are uninsurable under the law pursuant to which this Policy shall be
                 construed;

           4.    amount for which the Insureds are not financially liable or for which the claimants are
                 without legal recourse to the Insureds; or

           5.    non-monetary relief.

     H.    “Plan” means:

           1.    any Sponsored Plan; or

           2.    any government-mandated insurance program for workers                       compensation,
                 unemployment, social security or disability benefits for Employees.

     I.    “Settlement Program” means any voluntary compliance resolution program or similar
           voluntary settlement program administered by the United States Internal Revenue Service,
           United States Department of Labor or any other domestic or foreign governmental authority.
           Such programs include, without limitation, the Employee Plans Compliance Resolution
           System, Audit Closing Agreement Program, Voluntary Compliance Resolution Program,
           Walk-in Closing Agreement Program, Administrative Policy Regarding Self-Correction, Tax
           Sheltered Annuity Voluntary Correction Program, Delinquent Filer Voluntary Compliance
           Program, and Voluntary Fiduciary Correction Program.

     J.    “Settlement Program Notice” means prior written notice to the Insurer by any Insured of
           the Insured’s intent to enter into a Settlement Program.




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      K.   “Sponsored Plan” means any:

           1.    Employee Benefit Plan, Pension Benefit Plan or Welfare Benefit Plan, as each is
                 defined in ERISA, operated solely by any Insured Organization, or jointly by any
                 Insured Organization and a labor organization, for the benefit of Employees only;

           2.    employee benefit plan or program not subject to ERISA sponsored solely by any
                 Insured Organization for the benefit of Employees only, including any fringe benefit
                 or excess benefit plan;

           3.    employee benefit plan or program otherwise described in paragraphs 1. or 2. above
                 while such plan or program is being actively developed, formed or proposed by any
                 Insured Organization prior to the formal creation of such plan or program; provided,
                 however, no coverage is afforded for any Claim against an Insured in a settlor or
                 similar uninsured capacity with respect to any plan or program; or

           4.    plan, fund, or program specifically included as a Sponsored Plan in a written
                 endorsement issued by the Insurer.

           Sponsored Plan shall not include any multi-employer plan or employee stock ownership
           plan, unless such plan is specifically included as a Sponsored Plan by a written
           endorsement issued by the Insurer.

      L.   “Voluntary Settlement” means any fees, fines, or penalties paid by an Insured to a
           governmental authority pursuant to a Settlement Program for the actual or alleged
           inadvertent non-compliance by a Plan with any statute, rule or regulation; provided that
           Voluntary Settlement shall not include (i) any costs to correct the non-compliance, or any
           other charges, expenses, taxes or damages; or (ii) any fees, fines, or penalties relating to a
           Plan which, as of the earlier of inception date of this Policy or the inception date of the first
           policy in an uninterrupted series of policies issued by the Insurer of which this Policy is a
           direct or indirect renewal or replacement, any Insured Person knew to be actually or
           allegedly non-compliant.

      M.   “Wrongful Act” means any actual or alleged:

           1.    breach of the responsibilities, obligations or duties imposed by ERISA upon fiduciaries
                 of any Sponsored Plan in their capacity as such fiduciaries;

           2.    act, error or omission in Administration by any Insured in their capacity as such; or

           3.    matter claimed against any Insured Persons solely by reason of their service as a
                 fiduciary of any Sponsored Plan.

3.    EXCLUSIONS

      A.   The Insurer shall not pay Loss for any Claim against an Insured:

           1.    arising from, based upon, or attributable to any fact, circumstance or situation that,
                 before the inception date of this Policy, was the subject of any notice given under any
                 other insurance policy;

           2.    arising from, based upon, or attributable to any:

                 a.     demand, suit or proceeding made or initiated against any Insured on or prior to
                        the applicable Pending and Prior Litigation Date in Item 6 of the Declarations;
                        or



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                 b.     Wrongful Act specified in such prior demand, suit or proceeding or any
                        Interrelated Wrongful Acts thereto;

           3.    for bodily injury, sickness, disease, emotional distress, mental anguish, or death of
                 any person, or damage to or destruction of any tangible property, including loss of use
                 thereof;

           4.    arising from, based upon, or attributable to any:

                 a.     discharge, dispersal, release, escape, seepage, migration or disposal of
                        Pollutants, nuclear material or nuclear waste or any threat of such discharge,
                        dispersal, release, escape, seepage, migration or disposal; or

                 b.     direction, request or voluntary decision to test for, abate, monitor, clean up,
                        remove, contain, treat, detoxify or neutralize Pollutants, nuclear material or
                        nuclear waste,

                 provided that this exclusion shall not apply to any (i) Claim by or on behalf of a
                 beneficiary or participant in any Sponsored Plan for diminution in value of any
                 securities owned by the Sponsored Plan in any organization other than any Insured
                 Organization; or (ii) Non-Indemnifiable Loss;

           5.    arising from, based upon, or attributable to any liability under any contract or
                 agreement, provided that this exclusion shall not apply to the extent that liability:

                 a.     would have been incurred in the absence of such contract or agreement; or

                 b.     was assumed in accordance with or under an agreement or declaration of trust
                        pursuant to which a Plan was established;

           6.    for the failure of any Insureds to comply with any workers’ compensation,
                 unemployment insurance, social security, or disability benefits law or any similar law
                 except:

                 a.     the Consolidated Omnibus Budget Reconciliation Act of 1985; or

                 b.     the Health Insurance Portability and Accountability Act of 1996;

           7.    for discrimination in violation of any law other than ERISA;

           8.    arising from, based upon, or attributable to the gaining, in fact, of any personal profit,
                 remuneration or advantage to which such Insured is not legally entitled; or

           9.    arising from, based upon, or attributable to any deliberately fraudulent or criminal act
                 or omission or willful violation of law by such Insured if a judgment or other final
                 adjudication in such Claim or another proceeding establishes that such act, omission
                 or violation occurred.

           Regarding exclusions 8 and 9 above: (i) no Wrongful Act of any Insured Person shall be
           imputed to any other Insured Person; and (ii) only a Wrongful Act by a past, present or
           future chairman of the board, chief executive officer, president, chief operating officer, chief
           financial officer, general counsel or limited liability company manager of any Insured
           Organization or a past, present or future Plan trustee shall be imputed to any Insured
           Organization or Plan.

     B.    Other than Defense Costs, the Insurer shall not pay Loss for any Claim against an



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            Insured for:

            1.    failure to fund, or collect contributions owed to, any Plan;

            2.    return or reversion to an employer of any contribution or asset of any Plan; or

            3.    benefits under any Plan, including benefits that would be due under any Plan if such
                  Plan complied with all applicable laws, provided that this exclusion shall not apply to
                  the extent that an Insured is a natural person and the benefits are payable by such
                  Insured as a personal obligation.

4.    TERMINATED PLAN COVERAGE

      If, before or during the Policy Period, any Plan is terminated, coverage for such Plan and its
      Insureds shall continue until termination of this Policy. Such coverage continuation shall apply to
      covered Claims for Wrongful Acts occurring prior to or after the date the Plan was terminated.




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                                 CRIME COVERAGE PART
1.    INSURING AGREEMENTS

      A.   Employee Theft

           The Insurer shall pay Loss by an Insured resulting from any Employee, acting alone or in
           collusion with others, committing any:

           1.    Theft of Money, Property, or Securities; or

           2.    Forgery.

      B.   Customer Property

           The Insurer shall pay Loss by a Customer resulting from any Employee, not in collusion
           with such Customer’s employees, committing any:

           1.    Theft of Money, Property, or Securities; or

           2.    Forgery.

      C.   Inside The Premises

           The Insurer shall pay Loss by an Insured:

           1.    of Money or Securities while inside the Premises or any Banking Premises
                 resulting from any:

                 a.    Third Party committing any Robbery, Safe Burglary, or Theft; or

                 b     destruction or disappearance; or

           2.    inside the Premises resulting from any Third Party committing any:

                 a.    damage to Property during any Robbery or attempted Robbery;

                 b.    damage to Property contained inside any safe during any Safe Burglary or
                       attempted Safe Burglary;

                 c.    damage to a locked safe, cash drawer, cash box or cash register during any
                       felonious entry or attempted felonious entry;

                 d.    felonious abstraction of a locked safe, cash drawer, cash box or cash register;
                       or

                 e.    damage to the Premises during any Safe Burglary or attempted Safe
                       Burglary or Robbery or attempted Robbery.

      D.   Outside The Premises

           The Insurer shall pay Loss by an Insured:

           1.    of Money or Securities while In Transit, or while temporarily inside the home of an
                 Employee or a partner of an Insured Organization, resulting from any:



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                  a.     Third Party committing any Robbery or Theft; or

                  b.     destruction or disappearance; or

            2.    resulting from any Third Party committing any:

                  a.     damage to Property while In Transit during any Robbery or attempted
                         Robbery; or

                  b.     Theft of Property while temporarily inside the home of an Employee or a
                         partner of an Insured Organization.

      E.    Forgery or Alteration

            The Insurer shall pay Loss by an Insured resulting from any Third Party committing any:

            1.    Forgery of a Financial Instrument; or

            2.    Alteration of a Financial Instrument.

      F.    Computer Fraud or Fraudulent Transfer Instructions

            The Insurer shall pay Loss by an Insured of Money or Securities resulting from any Third
            Party committing any:

            1.    Computer Fraud; or

            2.    Fraudulent Transfer Instructions.

      G.    Currency Fraud

            The Insurer shall pay Loss by an Insured resulting from any Third Party committing any
            Currency Fraud.

2.    DEFINITIONS

      Whether used in the singular or plural, the following terms shall have the meanings specified
      below:

      A.    “Alteration” means the material modification of an original document by a person acting
            without authority and with the intent to deceive.

      B.    “Banking Premises” means the interior portion of any building occupied by a banking
            institution or similar safe depository.

      C.    “Computer Fraud” means Theft directed solely against an Insured Organization
            committed through the use of any computer or computer network, including all input, output,
            processing, storage, and communication devices connected to any computer or computer
            network.

      D.    “Counterfeit” means an imitation of an actual valid original that is intended to deceive and to
            be taken as the original.

      E.    “Currency Fraud” means the good faith acceptance by an Insured Organization in the
            regular course of business and in exchange for merchandise, Money, or services of any:




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           1.    Counterfeit United States of America or Canadian post office or express money
                 order, issued or purporting to have been issued by any post office or express
                 company that is not paid upon presentation; or

           2.    Counterfeit United States of America or Canadian paper currency.

     F.    “Customer” means any person or entity to which an Insured Organization provides goods
           or services for consideration.

     G     “Data” means information contained in any records, accounts, microfilms, tapes or other
           paper or electronic records.

     H.    “Discovery” means knowledge acquired by an Executive or a Risk Manager that would
           cause a reasonable person to believe (i) a covered Loss has occurred or (ii) that
           circumstances have arisen that may subsequently result in a covered Loss, including Loss:

           1.    sustained prior to the inception date of this Policy specified in Item 2 of the
                 Declarations;

           2.    not exceeding the applicable Deductible specified in Item 6 of the Declarations; or

           3.    for which exact details are unknown.

           Discovery shall not include knowledge acquired by an Executive or a Risk Manager acting
           alone or in collusion with an Employee as a participant in a Theft or Forgery.

     I.    “Employee” means any:

           1.    natural person whose labor or service is engaged and directed by any Insured
                 Organization, including fulltime, part-time, seasonal, leased and temporary
                 employees as well as volunteers; or

           2.    natural person fiduciary, trustee, administrator or employee of a Sponsored Plan and
                 any other natural person required to be bonded in connection with a Sponsored Plan
                 by Title 1 of ERISA.

           Employee shall not include any: (i) Executive except to the extent that such person is
           performing acts coming within the scope of the usual duties of a nonexecutive Employee;
           (ii) volunteer acting as a fund solicitor during fund-raising activities; or (iii) Independent
           Contractor.

     J.    “Executive” means any natural person who is a duly elected or appointed:

           1.    director, officer, or member of the board of managers or management committee of
                 an Insured Organization;

           2.    in-house general counsel of an Insured Organization; or

           3.    manager of an Insured Organization organized outside the United States of America
                 if such position is equivalent to those specified in 1 or 2 above.

     K.    “Financial Instrument” means checks, drafts, or similar orders to pay a specific amount of
           money that are made, drawn by or drawn upon an Insured Organization or by anyone
           acting as an agent of an Insured Organization, or that are purported to have been so made
           or drawn.




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     L.    “Forgery” means the signing of another natural person’s name with the intent to deceive.
           Forgery shall not include a signature that consists in whole or in part of one’s own name,
           signed with or without authority, in any capacity for any purpose. Mechanically or
           electronically produced or reproduced signatures shall be treated the same as hand-written
           signatures.

     M.    “Fraudulent Transfer Instructions” means any fraudulent written, electronic, telegraphic,
           cable, teletype or telephonic instructions issued to a financial institution directing such
           institution to initiate a transfer of Money or Securities from any account maintained by an
           Insured Organization at such institution which instructions purport to have been authorized
           by such Insured Organization but were, in fact, fraudulently transmitted by someone other
           than the Insured Organization.

     N.    “In Transit” means a conveyance outside the Premises by an Insured Organization within
           the custody of any:

           1.    Employee or partner of an Insured Organization; or

           2.    authorized custodian of an Insured Organization.

           Such conveyance begins upon receipt of the conveyance by any person described in 1 or 2
           above from any Insured Organization, and ceases upon delivery of the conveyance to the
           designated recipient or its agent.

     O.    “Insureds” means any:

           1.    Insured Organization; or

           2.    Sponsored Plan.

           Insureds shall not include a Customer.

     P.    “Investigation Costs” means reasonable and necessary expenses incurred by an Insured
           with the Insurer’s prior written consent to establish the existence and amount of a covered
           Loss. Investigation Costs shall not include any compensation, benefit expenses, or
           overhead of any Insureds or any expenses incurred by any Customer.

     Q.    “Loss” means direct loss sustained. If Investigation Costs Coverage is elected in Item 6 of
           the Declarations, “Loss” shall also mean Investigation Costs.

     R.    “Money” means currency, coin, and bank notes in current use and having a face value.

     S.    “Premises” means the interior portion of a building occupied by an Insured Organization to
           conduct its business.

     T.    “Property” means tangible property other than Money or Securities. Property shall not
           include Data.

     U.    “Risk Manager” means an Employee designated by an Insured Organization to effect and
           maintain insurance for the Insured Organization.

     V.    “Robbery” means a Theft from the care and custody of any:

           1.    Employee; or




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            2.    authorized custodian of an Insured Organization other than a watchman, porter or
                  janitor,

            by violence or threat of violence committed in the presence and cognizance of such person.

      W.    “Safe Burglary” means Theft from a locked vault or safe located inside the Premises by
            forcible or violent entry as evidenced by visible marks.

      X.    “Securities” means negotiable and non-negotiable instruments representing either Money
            or Property.

      Y.    “Sponsored Plan” means any:

            1.    Employee Benefit Plan, Pension Benefit Plan or Welfare Benefit Plan, as each are
                  defined in ERISA, operated solely by any Insured Organization, or jointly by any
                  Insured Organization and a labor organization, for the benefit of Employees only;

            2.    other employee benefit plan or program not subject to ERISA that is sponsored solely
                  by any Insured Organization for the benefit of Employees only; or

            3.    plan, fund, or program specifically included as a Sponsored Plan by a written
                  endorsement issued by the Insurer.

            Sponsored Plan shall not include any multi-employer plan.

      Z.    “Theft” means any unlawful taking.

      AA.   “Third Party” means any natural person other than:

            1.    an Employee or an Executive; or

            2.    a person acting in collusion with an Employee or an Executive.

3.    EXCLUSIONS

      A.    The Insurer shall not be liable to pay Loss resulting from any:

            1.    Theft, Computer Fraud, Fraudulent Transfer Instructions or any other fraudulent,
                  dishonest or criminal act (other than Robbery or Safe Burglary), by any authorized
                  representative of the Insured Organization, other than an Employee, provided that
                  this exclusion shall not apply if an authorized representative is acting in collusion with
                  any Employee;

            2.    fire, provided that this exclusion shall not apply to:

                  a.     Loss of Money or Securities; or

                  b.     damage to any safe or vault caused by the application of fire during any Safe
                         Burglary or attempted Safe Burglary;

            3.    Theft or Forgery by a partner of an Insured Organization whether acting alone or in
                  collusion with others, provided that if such Theft or Forgery would have otherwise
                  been a covered Loss if committed by someone else, the Insurer shall pay a
                  percentage of such Loss equal to the percentage ownership of the innocent partners
                  of such Insured Organization on the day immediately preceding the date of
                  Discovery;


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           4.    authorized or unauthorized trading, regardless of whether such trading is: (i) in the
                 name of the Insured or another; (ii) in a genuine or fictitious account; or (iii) with or
                 without the knowledge of any Insured; provided that this exclusion shall not apply to
                 Loss caused by Theft or Forgery resulting in improper financial gain to an Employee
                 (Loss as used in this exclusion means only the amount of improper financial gain to
                 such Employee and shall not include any compensation paid by an Insured
                 Organization to such Employee such as salary, bonuses, incentive payments
                 commissions, or employee benefits);

           5.    misappropriation or loss of use of trade secrets, confidential processing methods, or
                 other confidential information of any kind;

           6.    declared or undeclared war, civil war, insurrection, rebellion or revolution, military,
                 naval or usurped power, governmental intervention or authority, expropriation or
                 nationalization or any act or condition incident or related to any of the foregoing;

           7.    unrealized loss of income, including, without limitation, interest and dividends;

           8.    indirect or consequential loss of any nature, including, without limitation, fines,
                 penalties, multiple or punitive damages; provided that this exclusion shall not apply to
                 otherwise covered Investigation Costs if Investigation Costs Coverage is elected in
                 Item 6 of the Declarations;

           9.    Employee to the extent that Loss occurs:

                 a.    after an Executive or Risk Manager acquires knowledge of fraud or
                       dishonesty committed by such Employee involving Money, Securities or
                       Property, regardless of whether such fraud or dishonesty occurred prior to or
                       during employment with an Insured; or

                 b.    more than sixty (60) days after termination of such Employee;

           10.   expenses incurred by an Insured in defending or prosecuting any legal proceeding or
                 claim; provided that this exclusion shall not apply to the coverage provided under
                 Section 7. Defense Costs Coverage (Forgery or Alteration);

           11.   Insured knowingly giving or surrendering Money, Property, or Securities in any
                 exchange or purchase with a Third Party not in collusion with an Employee; provided
                 that this exclusion shall not apply to Currency Fraud;

           12.   Loss sustained by one Insured to the advantage of any other Insured;

           13.   disappearance of, or damage to, Money, Property, or Securities while in the custody
                 of any bank, trust company, similar recognized place of safe deposit, armored motor
                 vehicle company or any person duly authorized by an Insured Organization to have
                 custody of the property; provided that this exclusion shall not apply to Loss excess of
                 the amount recovered or received by an Insured Organization under:

                 a.    the Insured Organization’s contract, if any, with, or insurance carried by, any
                       of the foregoing; or

                 b.    any other insurance or indemnity in force; or

           14.   nuclear reaction, nuclear radiation or radioactive contamination, or any related act or
                 incident.




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     B.    Regarding Insuring Agreements A and B, the Insurer shall not be liable to pay Loss
           resulting from any:

           1.    unidentified Employee; or

           2.    agent, broker, factor, commission merchant, consignee, contractor, independent
                 contractor or other representative of the same general character.

     C.    Regarding Insuring Agreements C and D, the Insurer shall not be liable to pay Loss
           resulting from:

           1.    Forgery, Computer Fraud or Fraudulent Transfer Instructions; or

           2.    destruction, disappearance or damage to Money, Securities or Property while in the
                 mail or in the custody of a carrier for hire other than an armored motor vehicle
                 company.

     D.    Regarding Insuring Agreements C, D, and F, the Insurer shall not be liable to pay Loss
           resulting from kidnap, ransom or other extortion payment provided that this exclusion shall
           not apply to Robbery.

     E.    Regarding Insuring Agreement E, the Insurer shall not be liable to pay Loss resulting from
           Forgery or Alteration of any:

           1.    Financial Instrument committed by any Third Party in collusion with any Employee;
                 or

           2.    registered or coupon obligations issued or purported to have been issued by the
                 Insured.

     F.    If the Loss Sustained coverage option is elected in Item 6 of the Declarations, the Insurer
           shall not be liable to pay Loss unless sustained prior to the termination of this Policy and
           Discovery occurs and written notice thereof is given to the Insurer not later than:

           1.    sixty (60) days following such termination; or

           2.    one (1) year following such termination if the termination results from the voluntary
                 liquidation or voluntary dissolution of the Named Organization.

     G.    If the Loss Discovered coverage option is elected in Item 6 of the Declarations, the Insurer
           shall not be liable to pay Loss unless:

           1.    Discovery occurs and written notice thereof is given to the Insurer prior to the
                 termination of this Policy ; or

           2.    sustained prior to the termination of this Policy and Discovery occurs and written
                 notice thereof is given to the Insurer within one (1) year following such termination if
                 the termination results from the voluntary liquidation or voluntary dissolution of the
                 Named Organization.

     H.    The Insurer shall not be liable to pay Loss for which Discovery occurred prior to the
           inception date of this Policy specified in Item 2 of the Declarations.




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4.    LIMIT OF LIABILITY AND DEDUCTIBLE

      A.   The Insurer’s maximum aggregate liability for each single Loss under each elected Insuring
           Agreement shall not exceed the applicable Limit of Liability specified in Item 6 of the
           Declarations, regardless of the number of Insureds sustaining such Loss.

      B.   All Loss resulting from a single act or any number of acts of the same Employee or Third
           Party, regardless of whether such act or acts occurred before or during the Policy Period,
           shall be treated as a single Loss and the applicable Limit of Liability of this Coverage Part
           shall apply, subject to Section 9. Prior Loss Coverage.

      C.   If Loss is covered under more than one Insuring Agreement of this Coverage Part, the
           maximum amount payable under this Coverage Part shall not exceed the largest applicable
           Limit of Liability of any such Insuring Agreement.

      D.   If there is more than one Insured, the maximum liability of the Insurer for any single Loss
           sustained by more than one Insured shall not exceed the amount for which the Insurer
           would have been liable if the single Loss had been sustained by one Insured.

      E.   The amount that the Insurer shall pay for any single Loss shall not be cumulative from
           Policy Period to Policy Period.

      F.   The Insurer’s liability under this Coverage Part shall apply only to that part of each Loss
           excess of the applicable Deductible specified in Item 6 of the Declarations.

5.    SPONSORED PLAN COVERAGE

      A.   Payment of Loss incurred by a Sponsored Plan shall be paid by the Insurer to the Named
           Organization for the use and benefit of such Sponsored Plan.

      B.   The Limit of Liability applicable to any single Loss incurred by one or more Sponsored
           Plans shall be the applicable Limit of Liability specified in item 6 of the Declarations provided
           that such amount exceeds the minimum limit of liability for each Sponsored Plan (the
           “Minimum Limit of Liability”) incurring such single Loss.

      C.   The Minimum Limit of Liability for each Sponsored Plan shall equal the lesser of:

           1.    ten percent (10%) of such Sponsored Plan’s assets as of the beginning of such
                 Sponsored Plan’s fiscal year; or

           2.    $500,000.

      D.   If a single Loss is incurred by more than one Sponsored Plan, then the Limit of Liability
           applicable to such Loss shall be the greater of:

           1.    the applicable Limit of Liability specified in item 6 of the Declarations; or

           2.    the sum of the Minimum Limit of Liability for each Sponsored Plan incurring such
                 single Loss.

      E.   Notwithstanding any other provision of this Policy, no Deductible shall apply to Loss by any
           Sponsored Plan.




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6.    OWNERSHIP OF PROPERTY; INTERESTS COVERED

      A.    Regarding all Insuring Agreements other than Insuring Agreement B, coverage shall only
            apply to Money, Property or Securities owned by the Insured, for which the Insured is
            legally liable, or held by the Insured whether or not the Insured is liable, provided that:

            1.    the Insurer shall not be liable for damage to the Premises unless the Insured
                  Organization is the owner or is liable for such damage; and

            2.    regarding Insuring Agreement A, no coverage shall apply for Money, Property or
                  Securities of a Customer.

      B.    Regarding Insuring Agreement B, coverage shall only apply to Money, Property or
            Securities of a Customer held by the Insured Organization or for which the Insured
            Organization is legally liable.

7.    DEFENSE COSTS COVERAGE (FORGERY OR ALTERATION)

      Regarding Insuring Agreement E, coverage shall include reasonable attorneys’ fees and court
      costs incurred and paid with the Insurer’s prior written consent in defending an Insured
      Organization or an Insured Organization’s financial institution in any legal proceeding brought
      against it to enforce payment of a Financial Instrument. The coverage provided under this
      Section shall be part of, and not in addition to, the limit of liability specified in Item 6 of the
      Declarations for Insuring Agreement E.

8.    INVESTIGATION COSTS COVERAGE (ALL INSURING AGREEMENTS)

      A.    If Investigation Costs Coverage is elected in Item 6 of the Declarations, the Insurer shall
            pay Investigation Costs incurred by any Insured resulting from any Loss covered under
            Insuring Agreements A through G provided that such Loss exceeds the Deductible
            applicable to the relevant Insuring Agreement.

      B.    This coverage shall be subject to the Sublimit of Liability specified in Item 6 of the
            Declarations. Such Sublimit of Liability shall be the maximum aggregate amount that the
            Insurer shall pay under this coverage. Such Sublimit of Liability shall be part of, and not in
            addition to, the Limits of Liability applicable to the above Insurance Agreements. Other than
            as specified above, no Deductible shall apply to this coverage.

9.    PRIOR LOSS COVERAGE

      A.    If Loss Sustained Coverage is elected in Item 6 of the Declarations, coverage shall be
            available under this Policy for Loss prior to the inception date of this Policy specified in Item
            2 of the Declarations, or the effective date of any coverage for any additional Insureds or
            coverage added by endorsement, provided that:

            1.    an Insured or a predecessor in interest of such Insured carried a prior bond or policy
                  that afforded coverage for such Loss during the period of such prior bond or policy;

            2.    such coverage continued without interruption from the time of such Loss until the
                  inception date of this Policy or the effective date specified above;

            3.    Discovery occurred after the time to report such Loss had expired under the last
                  such bond or policy;




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            4.    some or all of the coverage of an Insuring Agreement under this Coverage Part
                  would be applicable to such Loss;

            5.    if such prior bond or policy carried by an Insured or predecessor in interest of such
                  Insured was issued by the Insurer or its affiliates, such prior bond or policy shall
                  terminate as of the inception date of this Policy and no coverage shall be provided
                  under such prior bond or policy; and

            6.    the Insurer’s maximum liability for the prior Loss shall not exceed the lesser of either:
                  (i) the limit of liability of the policy immediately preceding this Policy; or (ii) the
                  applicable Limit of Liability specified in Item 6 of the Declarations.

       B.   If Loss Discovered Coverage is elected in Item 6 of the Declarations, coverage shall be
            available for Loss prior to the inception date of this Policy specified in Item 2 of the
            Declarations, or the effective date of coverage for any additional Insureds or coverage
            added by endorsement, provided that:

            1.    some or all of the coverage of an Insuring Agreement under this Coverage Part
                  would be applicable to such Loss;

            2.    if an Insured or a predecessor in interest of such Insured carried a prior bond or
                  policy that afforded coverage for Loss and was not issued by the Insurer or its
                  affiliates and Discovery of such Loss occurred prior to the expiration of the time
                  allowed for discovery under the last such bond or policy, then no coverage shall be
                  available under this Policy unless Loss otherwise covered under the prior bond or
                  policy exceeds the limit of liability of the last such prior bond or policy in which case
                  this Policy shall provide excess coverage over such prior bond or policy subject to all
                  of the terms and conditions of this Policy; and

            3.    if an Insured or a predecessor in interest of such Insured carried a prior bond or
                  policy that afforded coverage for a Loss and was issued by the Insurer or its
                  affiliates, such prior bond or policy shall terminate as of the inception date of this
                  Policy and no coverage shall be provided under such prior bond or policy.

       C.   Except as specified in A and B above, there shall be no coverage under this Coverage Part
            for Loss prior to the:(i) inception date of this Policy specified in Item 2 of the Declarations; or
            (ii) effective date of coverage for any additional Insureds or coverage added by
            endorsement.

10.    CALCULATION OF LOSS

       A.   For Loss of Securities, the Insurer shall pay the lesser of either:

            1.    the actual market value of lost, damaged or destroyed Securities, but only up to and
                  including their value at the close of business on the business day immediately
                  preceding the Discovery of such Loss;

            2.    the cost of replacing Securities; or

            3.    the cost to post a Lost Securities Bond in connection with issuing duplicates of the
                  Securities.

       B.   For Loss of books of account or other records, the Insurer shall pay the cost of blank
            books, pages or tapes or other blank materials to replace lost or damaged books of account
            or other records.




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       C.   For Loss of Property, the Insurer shall pay the lesser of either:

            1.    the price paid by an Insured for the Property; or

            2.    the cost to repair or replace Property with that of like kind, quality and value at the
                  time that the Named Organization furnishes a proof of loss pursuant to Section 11.
                  Loss Reporting Rights and Duties.

       D.   For Loss of foreign currency, the Insurer shall pay the United States of America dollar
            equivalent of foreign currency determined by the rate of exchange on the date of Discovery
            of such Loss.

11.    LOSS REPORTING RIGHTS AND DUTIES

       A.   Knowledge possessed by any Insured or Discovery shall be deemed knowledge
            possessed or Discovery by all Insureds.

       B.   Upon Discovery and as a condition precedent to coverage, the Named Organization shall
            provide to the Insurer:

            1.    written notice at the earliest practicable moment, but no later than thirty (30) days
                  after Discovery;

            2.    a sworn proof of loss with full particulars within 120 days of Discovery, including:

                  a.     submission to examination under oath at the Insurer’s request and provide a
                         signed statement of answers; and

                  b.     production of all pertinent records at such reasonable times and places as the
                         Insurer shall designate; and

            3.    full and complete cooperation in all matters pertaining to a Loss or claim, including
                  the investigation and settlement thereof.

       C.   If an Insured Organization establishes wholly apart from its inventory records that it has a
            covered Loss caused by an identified Employee, then it may offer a comparison between
            its inventory records and a physical count of its inventory to prove the amount of such Loss.

       D.   No Insured shall institute legal proceedings against the Insurer regarding any Loss:

            1.    more than two (2) years after Discovery; or

            2.    to recover a judgment or settlement against it or its bank resulting from Forgery or
                  Alteration, or defense costs as specified in Section 7 Defense Costs Coverage
                  (Forgery or Alteration), more than two (2) years after the date such judgment shall
                  become final or settlement was entered.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   KIDNAP, RANSOM & EXTORTION COVERAGE PART
It is agreed that the following Kidnap, Ransom & Extortion Coverage Part is added to the Policy:

                                          DECLARATIONS
Insuring Agreements F. Repatriation Costs and G. Recall Costs are included only if designated
with an X.
  Insuring Agreement    Limit of Liability      Deductible                Options
   A. Kidnap, Ransom &           $1,000,000                  $0 X F. Repatriation Costs
      Extortion                                                        Coverage
   B. Custody                    $1,000,000                  $0        Limit of Liability:
   C. Claims Costs               $1,000,000                  $0                       $500,000
   D. Response Costs             $1,000,000                  $0        Deductible:
      1. R&R Sublimit               $25,000                  $0                             $0
                                                                 X G. Recall Costs
   E. Personal Injury                                                  Coverage -
   Benefits:                                                           Limit of Liability:
      1. Death:                    $500,000                  $0                       $500,000
      2. Mutilation:               $500,000                  $0        Deductible:
      3. Other Injury              $500,000                  $0                             $0



                 Security Consultant: Control Risks Group
                                      United States: 1-800-831-1985
                                      Global: +44 20 7939 8900

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1.     INSURING AGREEMENTS

       A.    Kidnap, Ransom & Extortion

             The Insurer shall reimburse Loss paid to the perpetrators of any Kidnapping or Extortion
             first commenced during the Policy Period.




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      B.    Custody

            The Insurer shall reimburse Loss resulting from any destruction, disappearance,
            confiscation or theft of money, property or other consideration to the extent that such
            money, property or other consideration was:

            1.    intended as payment to the perpetrators of any Kidnapping or Extortion first
                  commenced during the Policy Period; and

            2.    being held or conveyed by a person authorized by an Insured Organization to make
                  such payment.

      C.    Claims Costs

            The Insurer shall reimburse Claim Costs resulting from any Kidnapping, Hijacking,
            Political Intimidation, or Wrongful Detention first commenced during the Policy Period.

      D.    Response Costs

            The Insurer shall reimburse Response Costs resulting from any Kidnapping, Extortion,
            Hijacking, Political Intimidation, or Wrongful Detention first commenced during the
            Policy Period.

      E.    Personal Injury Benefits

            The Insurer shall pay the Benefit for any Personal Injury resulting from any Kidnapping,
            Hijacking, Political Intimidation, or Wrongful Detention first commenced during the
            Policy Period.

      F.    Repatriation Costs

            If Repatriation Costs coverage is elected in the Declarations of this Coverage Part, the
            Insurer shall reimburse Repatriation Costs arising from any Repatriation first commenced
            during the Policy Period.

      G.    Recall Costs

            If Recall Costs coverage is elected in the Declarations of this Coverage Part, the Insurer
            shall reimburse Recall Costs arising from any Extortion to Contaminate Products first
            commenced during the Policy Period.

2.    DEFINITIONS

      Whether used in the singular or plural, the following terms shall have the meanings specified
      below:

      A.    “Amputation” means permanent total loss of function of any:

            1.    foot;

            2.    hand; or

            3.    thumb and index finger.




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     B.    “Assault” means bodily harm to any Insured Person.

     C.    “Benefit” means the applicable scheduled benefit specified in the Declarations of this
           Coverage Part under Personal Injury Benefits.

     D.    “Blindness” means legal blindness involving permanent loss of sight in one or both eyes.

     E     “Claim Costs” means:

           1.    reasonable and necessary defense costs incurred by an Insured Organization; and

           2.    damages, judgments and settlements that an Insured Organization becomes legally
                 obligated to pay,

                 arising from a lawsuit brought against any Insured Organization or Employee by or
                 on behalf of an Insured Person alleging negligence regarding victim retrieval
                 operations involving, negotiations relating to, or prevention of, any Kidnapping,
                 Assault, Hijacking, Political Intimidation, or Wrongful Detention.

     F.    “Compensation” means all compensation paid by any Insured Organization to an
           Employee, including, without limitation, salary, bonus, commission, incentive payments, and
           the cost of health, welfare and pension benefits.

     G.    “Computer System” means any computer or computer network utilized by an Insured
           Organization, including any input, processing, storage, communication facilities, and off-line
           media libraries.

     H.    “Computer Attack” means any:

           1.    entry into, or deletion of data from, a Computer System;

           2.    change to data elements or program logic kept in machine readable format in a
                 Computer System; or

           3.    introduction of instructions that propagate throughout a Computer System;

           provided that such occurrence is directed solely against, and is not authorized by, any
           Insured Organization.


     I.    “Contaminate” means to introduce any foreign substance into or upon any Property that
           renders such Property unfit for use or sale.

     J.    “Deafness/Muteness” means permanent total loss of hearing and/or speech.

     K.    “Death” means:

           1.    death, including clinical death, as determined by a medical examiner or similar
                 governmental official; or




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           2.    absence of communication from an Insured Person or the perpetrators of the
                 Kidnapping, Hijacking, or Wrongful Detention of such Insured Person for a period of 2
                 years following the later of:

                 a.     such Kidnapping, Hijacking, or Wrongful Detention;

                 b.     the last communication from such Insured Person; or

                 c.     the last communication from the perpetrators of such Kidnapping, Hijacking,
                        or Wrongful Detention.

     L.    “Discovery” means knowledge acquired by an Executive that would cause a reasonable
           person to believe (i) a covered Loss has occurred or (ii) that circumstances have arisen that
           may subsequently result in a covered Loss, including Loss:

           1.    sustained prior to the inception date specified in Item 2 of the Declarations for this
                 Policy; or

           2.    for which exact details are unknown.

     M.    “Domicile Country” means:

           1.    regarding Repatriation, a country in which an Insured Person is a citizen or legal
                 resident; or

           2.    regarding Wrongful Detention, a country in which: (i) an Insured Person is a citizen
                 or legal resident; or (ii) any Insured Organization is headquartered.

     N.    “Employee” means any natural person whose labor or service is engaged and directed by
           any Insured Organization, including any: (i) Executive; (ii) fulltime, part-time, seasonal,
           leased and temporary employees; and (iii) volunteers. Employee shall not include any
           Independent Contractor.

     O.    “Executive” means any natural person who is a duly elected or appointed:

           1.    director, officer, or member of the board of managers or management committee of
                 an Insured Organization;

           2.    in-house general counsel of an Insured Organization; or

           3.    manager of an Insured Organization organized outside the United States of America
                 if such manager holds a position equivalent to those specified in 1 or 2 above.

     P.    “Extortion” means any credible threat to:

           1.    commit a Kidnapping, Assault, Hijacking, or Wrongful Detention;

           2.    damage, destroy or Contaminate any Property;

           3.    improperly disclose or utilize any trade secrets or other proprietary information of any
                 Insured Organization provided that such Insured Organization makes all
                 reasonable efforts to protect such information from unauthorized disclosure;




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           4.    distribute counterfeit Products or disseminate negative information regarding
                 Products; or

           5.    initiate a Computer Attack,

           in which a demand is made for payment as a condition for the avoidance or mitigation of
           such threat.

     Q.    “Hijacking” means any unlawful detention of an Insured Person, other than a Kidnapping,
           for a period in excess of 4 hours, while traveling in or on a vehicle, watercraft or aircraft.

     R.    “Host Country” means a country in which an Insured Person temporarily resides.

     S.    “Insured” means any:

           1.    Insured Organization; or

           2.    Insured Person.

     T.    “Insured Person” means any natural person:

           1.    who is an Employee;

           2.    spouse, domestic partner, sibling (including step, half, foster, adopted or in-law),
                 ancestor or spouse’s ancestor (“ancestor” includes adoptive parents and
                 stepparents), niece, nephew, aunt, uncle, or lineal descendant or lineal descendant’s
                 spouse of an Employee (“lineal descendant” includes adopted, foster and
                 step-children);

           3.    employed in the household of an Employee while in such Employee’s home;

           4.    who is a normal resident or guest in an Employee’s home;

           5.    customer or guest of an Insured Organization while on the Premises or in an
                 Employee’s home;

           6.    customer or guest of an Insured Organization while traveling with an Employee; or

           7.    retained by any Insured or independent security consultant to deliver a ransom or
                 extortion payment.

     U.    “Kidnapping” means any wrongful abduction, and holding under duress or by fraudulent
           means, of an Insured Person in which a demand for payment of ransom is made as a
           condition for the release of such Insured Person.

     V.    “Loss” means direct loss sustained by any Insured Organization. Regarding Insuring
           Agreement C, “Loss” means Claim Costs. Regarding Insuring Agreement D, “Loss”
           means Response Costs. Regarding Insuring Agreement E, “Loss” means Benefit.
           Regarding Insuring Agreement F, “Loss” means Repatriation Costs. Regarding Insuring
           Agreement G, “Loss” means Recall Costs.

           If Kidnapping or Extortion demands are made directly against an Insured Person, “Loss”
           also means:

           1.    ransom or extortion payments;




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           2.    money, property, and other consideration that was intended to be used as ransom or
                 extortion payments; and

           3.    Response Costs,

           made or incurred by such Insured Person if the Named Organization provides written
           notice to the Insurer directing the Insurer to consider such amounts as covered Loss under
           this Coverage Part.

     W.    “Mutilation” means permanent total loss of an entire:

           1.    ear;

           2.    nose;

           3.    finger;

           4.    toe; or

           5.    genital organ.

     X.    “Personal Injury” means Death, Amputation, Blindness, Deafness/Muteness or
           Mutilation of an Insured Person that:

           1.    arises from a Kidnapping, Hijacking, Political Intimidation, or Wrongful
                 Detention;

           2.    is sudden and unexpected by such Insured Person;

           3.    is not related to any illness, disease or other bodily malfunction of such Insured
                 Person; and

           4.    arises from a source external to such Insured Person.

     Y.    “Political Intimidation” means any threat to do bodily harm to any Insured Person by a
           person or group acting, or purporting to act:

           1.    on behalf, or with the implied approval, of any government or governmental entity; or

           2.    on behalf of any political terrorist or insurgent party, organization or group.

     Z.    “Premises” means buildings, facilities or properties occupied by an Insured Organization
           in conducting its business.

     AA.   “Property” means all Premises, Products, and any other real or tangible personal property
           owned by or leased by the Insured Organization or for which the Insured Organization is
           legally liable.

     BB.   “Products” means any raw materials, work in progress, inventory or products stored,
           manufactured or distributed by an Insured Organization.

     CC.   “R&R Costs” means reasonable expenses of rest and rehabilitation for up to 30 days,
           including meals and recreation, for an Insured Person who has experienced a Kidnapping
           provided that such expenses are incurred within 12 months following such Insured
           Person’s release.



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     DD.   “Recall Costs” means any reasonable and necessary transportation expenses incurred by
           an Insured Organization in the withdrawal, physical inspection or destruction of Products
           that are necessitated by an Extortion to Contaminate such Products.

           “Recall Costs” shall include any other expenses incurred with the prior written consent of
           the Insurer.

           “Recall Costs” shall exclude:

           1.    refunds to customers for recalled Products; or

           2.    costs incurred for any known or suspected defect, deficiency or use of substandard or
                 flawed materials necessitating the recall of Products.

     EE.   “Repatriation” means the departure of any Insured Person from a Host Country because
           of any:

           1.    nonmedical recommendation issued by a government official of a Domicile Country
                 or Host Country that any category of persons that includes the Insured Person
                 should leave a Host Country;

           2.    expulsion of an Insured Person by the recognized government of a Host Country, or
                 the issuance of a written expulsion order or declaration of persona non grata
                 regarding an Insured Person by the recognized government of a Host Country; or

           3.    wholesale confiscation or expropriation of the property, plant and equipment of an
                 Insured Organization within a Host Country.

     FF.   “Repatriation Costs” means the following reasonable and necessary expenses incurred by
           an Insured Organization because of a Repatriation:

           1.    travel expenses to the nearest place of safety or to a Domicile Country;

           2.    lodging expenses up to a maximum of 7 days; and

           3.    Compensation for an Employee who is the subject of an Repatriation; provided that
                 such coverage shall apply to the Compensation in effect at the time of the
                 Repatriation and shall end upon the earlier of: (i) 120 days from the beginning of the
                 Repatriation; or (ii) the return of the Employee to the Domicile Country.

           Repatriation Costs exclude expenses incurred because of any:

           1.    violation of the laws any Host Country;

           2.    failure to comply with immigration, employment, residence or visa requirements;

           3.    debt, insolvency, commercial failure, repossession of any property by a title holder, or
                 any other financial cause;

           4.    failure to honor any contractual obligation or bond or to obey any conditions in a
                 license;

           5.    natural disasters, including, without limitation, any earthquake, flood, fire, famine,
                 volcanic eruption or windstorm; or

           6.    ionizing radiations or contamination by radioactivity from any irradiated nuclear fuel or



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                form any nuclear waste, or the radioactive, toxic, explosive or other hazardous
                properties of any nuclear assembly or nuclear component thereof.

     GG. “Response Costs” means the following reasonable and necessary expenses:

           1.   regarding any Kidnapping, Extortion, Hijacking, Political Intimidation, or
                Wrongful Detention:

                a.    security consulting by the security consultant scheduled in the Declarations for
                      this Coverage Part;

                b.    independent public relations consulting;

                c.    travel and lodging expenses of an Insured Person;

                d.    independent legal counsel;

                e.    independent security guard services up to a maximum of 15 days;

                f.    independent negotiation services;

                g.    foreign language interpretation services;

                h.    advertising, communications, and recording equipment;

                i.    independent forensic analysis;

                j.    interest on a loan to finance a ransom payment covered under Insuring
                      Agreement A;

                k.    reward paid to a natural person who provides information leading to the arrest
                      and conviction of the perpetrators of any Kidnapping, Extortion, Hijacking, or
                      Wrongful Detention;

                l.    Compensation paid to any:

                      1.    kidnapped, confined, or hijacked Employee following the Kidnapping,
                            Hijacking, or Wrongful Detention of such Employee; and

                      2.    replacement Employee following the Kidnapping, Hijacking, or
                            Wrongful Detention of another Employee,

                      provided that coverage of such Compensation to each Employee shall be no
                      greater than the rate in effect for the kidnapped, confined, or hijacked
                      Employee at the time of such Kidnapping, Hijacking, or Wrongful Detention
                      and will end on the earliest of the following occurrences: (i) recovery of the
                      deceased body of the kidnapped, confined, or hijacked Employee; (ii) 45 days
                      after release of the kidnapped, confined, or hijacked Employee; (iii) 120 days
                      after the last communication from the kidnapped, confined, or hijacked
                      Employee or the perpetrators of the Kidnapping, Hijacking, or Wrongful
                      Detention; or (iv) 5 years after the date of the Kidnapping, Hijacking, or
                      Wrongful Detention;




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                  m.     personal financial loss incurred by an Insured Person resulting from such
                         Insured Person’s inability to attend to personal financial matters;

                  n.     reasonable medical, cosmetic, psychiatric and dental expenses incurred
                         following such Insured Person’s release;

                  o.     R&R Costs; and

                  p.     travel expenses to return an Insured Person to the place where such Insured
                         Person resided at the time of a Kidnapping, Hijacking, or Wrongful
                         Detention; and

            2.    other expenses incurred with the prior written consent of the Insurer.

            “Response Costs” shall not include Claim Costs, Recall Costs, or Repatriation Costs.


      HH.   “Wrongful Detention” means wrongful involuntary confinement of an Insured Person by
            others, other than a Kidnapping, for a period of 24 hours or more.

3.    EXCLUSIONS

      A.    The Insurer shall not be liable to pay Loss resulting from any:

            1.    fraudulent, dishonest or criminal act of an identifiable Employee, acting alone or in
                  collusion with others, provided that this exclusion shall not apply if such Loss exceeds
                  the amount available to the Insureds, whether collectible or not, under any other
                  bond, insurance or indemnity covering such Loss, in which case this Coverage Part
                  shall cover only such excess amount;

            2.    fraud by an Insured Person allegedly the subject of a Kidnapping, Extortion,
                  Hijacking, Political Intimidation, or Wrongful Detention if, prior to payment, an
                  Insured Organization had not made reasonable efforts to verify the authenticity of
                  such Kidnapping, Extortion, Hijacking, Political Intimidation, or Wrongful
                  Detention; or

            3.    unrealized income, including, without limitation, loss of interest and dividends;

            4.    Political Intimidation or Wrongful Detention caused by:

                  a.     any criminal law violation by an Insured Person if the Domicile Country of
                         such Insured Person has a similar criminal law, provided that this exclusion
                         shall not apply if it is determined by the Named Organization that a criminal
                         law violation allegation is fraudulent and politically motivated; or

                  b.     failure to comply        with   immigration,     employment,   residence     or   visa
                         requirements;

            5.    Loss sustained by one Insured to the advantage of any other Insured; or

            6.    participation in political activities or military operations.




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      B.   Regarding Insuring Agreement A, the Insurer shall not be liable to pay Loss unless
           surrendered to the perpetrators of a Kidnapping or Extortion.

      C.   Regarding Insuring Agreements B, C, D, E, F, and G, the Insurer shall not be liable to pay
           Loss resulting from any money, property or other consideration surrendered as a ransom or
           extortion payment and covered under Insuring Agreement A.

      D.   Regarding Insuring Agreement B and D, the Insurer shall not be liable to pay Loss resulting
           from confiscation by any government or governmental entity.

      E.   Regarding Insuring Agreements E, the Insurer shall not be liable to pay Loss resulting from
           any fraud by an Insured Person allegedly the subject of a Personal Injury.

4.    LIMITS OF LIABILITY

      A.   The Insurer’s maximum liability for each single Loss under each Insuring Agreement shall
           not exceed the applicable Limit of Liability specified in the Declarations of this Coverage
           Part, regardless of the number of Insureds incurring such Loss.

      B.   The R&R Sublimit is part of, and not in addition to, the Response Costs Limit of Liability.
           Such Sublimit shall be the Insurer’s maximum liability for each single Loss regarding R&R
           Costs.

      C.   If an Insured Person incurs multiple Personal Injuries, the Insurer’s maximum liability for
           all such Personal Injuries combined shall not exceed the Death benefit specified in the
           Declarations of this Coverage Part.

      D.   If more than one Insured Person incurs a Personal Injury resulting from a single
           Kidnapping, Extortion, Hijacking, Political Intimidation, or Wrongful Detention or any
           series of related Kidnappings, Extortions, Hijackings, Political Intimidations, or
           Wrongful Detentions, all such Personal Injuries combined shall be considered a single Loss
           and the Insurer’s maximum liability for all such Personal Injuries combined shall not
           exceed the Death benefit specified in the Declarations of this Coverage Part.

      E.   The following occurrences shall also be considered a single Loss:

           1.    regarding Insuring Agreement A, all Loss arising from any single Kidnapping or
                 Extortion or any series of related Kidnappings or Extortions;

           2.    regarding Insuring Agreement B, all Loss arising from any single Kidnapping or
                 Extortion or any series of related Kidnappings or Extortions;

           3.    regarding Insuring Agreement C, all Claim Costs arising from any single Kidnapping
                 or Extortion or any series of related Kidnappings or Extortions;

           4.    regarding Insuring Agreement D, all Response Costs arising from any single
                 Kidnapping, Extortion, Hijacking, Political Intimidation, or Wrongful Detention,
                 or any series of related Kidnappings, Extortions, Hijackings, Political
                 Intimidations, or Wrongful Detentions;

           5.    regarding Insuring Agreement F, all Repatriation Costs arising from any single
                 Repatriation or any series of related Repatriations; and




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           6.    regarding Insuring Agreement G, all Recall Costs arising from any single Extortion
                 to Contaminate Products or any series of related Extortions to Contaminate
                 Products.

      F.   If there is more than one Insured, the maximum liability of the Insurer for any single Loss
           sustained by more than one Insured shall not exceed the amount for which the Insurer
           would have been liable if the single Loss had been sustained by one Insured.

      G.   The amount that the Insurer shall pay for any single Loss shall not be cumulative from
           Policy Period to Policy Period.

      H.   Unless specified in the Declarations for this Coverage Part, there is no Deductible applicable
           to any Loss covered under this Coverage Part.

5.    BENEFIT PAYMENTS

      The Benefit for Death will be paid to an Insured Person’s estate. The Benefit for all other
      Personal Injury will be paid to an Insured Person, unless otherwise directed by the Insured
      Person.

6.    CALCULATION OF LOSS

      A.   For Loss of Securities, the Insurer shall pay the lesser of either:

           1.    the actual market value of lost, damaged or destroyed Securities, but only up to and
                 including their value at the close of business on the business day immediately
                 preceding the Discovery of such Loss;

           2.    the cost of replacing Securities; or

           3.    the cost to post a Lost Securities Bond in connection with issuing duplicates of the
                 Securities.

      B.   For Loss of books of account or other records, the Insurer shall pay the cost of blank
           books, pages or tapes or other blank materials to replace lost or damaged books of account
           or other records.

      C.   For Loss of Property, the Insurer shall pay the lesser of either:

           1.    the price paid by an Insured for the Property; or

           2.    the cost to repair or replace Property with that of like kind, quality and value at the
                 time that the Named Organization furnishes a proof of loss pursuant to Section 8.
                 Loss Reporting Rights and Duties.

      D.   For Loss of foreign currency, the Insurer shall pay the United States of America dollar
           equivalent of foreign currency determined by the rate of exchange on the date of Discovery
           of such Loss.

7.    LOSS REPORTING RIGHTS AND DUTIES

      A.   Knowledge possessed by any Insured or Discovery shall be deemed knowledge possessed
           or Discovery by all Insureds.

      B.   Upon Discovery and as a condition precedent to coverage, the Named Organization shall
           provide to the Insurer:



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             1.    written notice of Discovery as soon as practicable, but no later than 60 days after the
                   end of the Policy Period; and

             2.    a sworn proof of Loss with full particulars.

      C.     No Insured shall institute legal proceedings against the Insurer regarding any Loss more
             than 2 years after Discovery.

8.    LOSS COOPERATION

      The Insureds shall cooperate with the Insurer regarding the handling and processing of all
      covered matters under this Policy. Regarding Insuring Agreement C, and without limiting the
      foregoing, the Insureds shall

      A.     allow Insurer the right to associate in the handling of any matters that may result in Claim
             Costs; and

      B.     not assume any liability, enter into any settlement agreement, stipulate to any judgment, or
             incur any Claim Costs without the prior written consent of the Insurer, which consent shall
             not be unreasonably withheld. The Insurer shall not be liable for any Claim Costs to which
             it has not consented.

9.    CONFIDENTIALITY

      The Insureds shall not disclose the existence of this insurance to any third party.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 1
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  AMENDMENTS TO GENERAL PROVISIONS (LOCKTON)
Regarding the General Provisions, it is agreed that:

1.     APPLICATION – LIMITATION OF REMEDIES FOR MISREPRESENTATIONS OR OMISSIONS

       Section 15. Application, A of this Policy shall be the Insurer’s sole remedy with respect to
       misrepresentations or omissions in the Application. This Policy shall not be rescinded in its
       entirety.

2.     CONTROLLED LIMITED PARTNERSHIP COVERAGE

       A.    Section 2. Definitions, K. “Insured Organization” is amended to add:

                   “Insured Organization” shall include any such organization in its capacity as a
                   general partner of a Controlled Limited Partnership.

       B.    “Controlled Limited Partnership” means any limited partnership in which, and for as long
             as:

             1.    the Named Organization owns or controls, directly or indirectly, more than 50% of
                   the limited partnership interests; and

             2.    any Insured Organization is the sole general partner,

             of such limited partnership.

       C.    Section 2. Definitions, U. “Subsidiary” is amended to add:

                   “Subsidiary” also means a Controlled Limited Partnership.

3.     DUTY TO REPORT CLAIM UPON AWARENESS OF CEO, CFO, GC, AND RISK MANAGER
       ONLY

       Section 9. Claim and Potential Claim Notices, A is deleted and replaced by:

             As a condition precedent to coverage, the Insureds shall give the Insurer written notice of
             any Claim as soon as practicable after the chief executive officer, chief financial officer,
             general counsel or risk manager of an Insured Organization first becomes aware of such
             Claim, but no later than 60 days after the end of the Policy Period or the Extended
             Reporting Period, if applicable. Such notice shall specify the Liability Coverage Part under
             which notice is being given.

4.     NO SUBROGATION AGAINST INSUREDS – LIABILITY COVERAGE PARTS

       Section 12. Subrogation is amended to add:

             Notwithstanding any other provision of this Policy, solely with respect to the Liability
             Coverage Parts, the Insurer shall not exercise its rights of subrogation against any
             Insureds.

5.     APPLICATION – LIMITATION ON IMPUTATION OF KNOWLEDGE TO CEO, COO, AND CFO




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      Section 15. Application, B.2 is deleted and replaced by:

             the Named Organization’s chief executive officer, chief operating officer and chief financial
             officer shall be imputed to all Insureds other than Insured Persons.
6.    AMEND DEFINITION OF APPLICATION

      It is agreed that, Definitions, A. “Application” is deleted and replaced by:

      A.     “Application” means the application for this Policy received within the last 12 months,
             including any information and materials submitted therewith or incorporated therein.
             “Application” also means any application received within the last 12 months, including any
             information and materials submitted therewith or incorporated therein, for any insurance
             policy in an uninterrupted series of policies issued by the Insurer, or any insurance company
             controlling, controlled by or under common control with the Insurer, of which this Policy is a
             direct or indirect renewal or replacement. The Application shall be deemed attached to and
             is incorporated into this Policy.

7.    AMEND ACQUISITION THRESHOLD – 35%

      It is agreed that the reference to “25%” in the second paragraph of General Provisions Section 14.
      Corporate Transactions, B. Acquisition or Creation of Subsidiary is deleted and replaced by “35%”.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 2
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




00 PCD0328 00 11 10                                                                              Page 2 of 2
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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           STATE AMENDATORY INCONSISTENCY
                                 (GENERAL PROVISIONS)
It is agreed that if there is an inconsistency in language between a state amendatory endorsement to this
Policy and any provision of this Policy, the Insurer shall apply the language which is more favorable to
the Insureds provided such application is permitted by law.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 3
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




00 ME0002 00 09 09                                                                             Page 1 of 1
00 ML0207 00 11 03                    EXHIBIT B - Page No. 67
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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    INSURED RIGHT TO CONSENT TO SETTLEMENTS
                              (GENERAL PROVISIONS)
It is agreed that General Provisions Section 8. Defense of Claims, D is deleted and replaced by:

      The Insurer may, with the written consent of the Insureds, settle any Claim for a monetary
      amount that the Insurer deems reasonable.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 4
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




00 PCD0198 00 09 09                                                                              Page 1 of 1
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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       OTHER INSURANCE –
                                          FUND POLICY
                                     (GENERAL PROVISIONS)

It is agreed that General Provisions Section 13 is deleted and replaced by:

OTHER INSURANCE

Coverage under this Policy shall apply only in excess of any other valid and collectible insurance or bond
regardless of whether such other insurance or bond is stated to be excess, contributory, contingent or
otherwise, unless such other insurance or bond is written specifically excess of this Policy by reference in
such other insurance or bond to this Policy’s Policy Number.

However, with respect to a management and professional liability insurance policy issued to a security
holder of the Insured Organization, coverage under this Policy shall apply as primary insurance for Loss
attributable to the Wrongful Acts of an Executive, without regard to any indemnification which may be
owed to such Executive by such security holder.

Notwithstanding the above, in the event of a Claim against an Insured arising out of his or her service as
a director, officer, trustee or governor of an Outside Entity this policy shall be specifically excess of any
valid and collectible indemnification provided by such Outside Entity and any valid and collectible
insurance provided to such Outside Entity.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 5
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




00 PCD0206 00 02 10                                                                               Page 1 of 1
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             INSURED DUTY TO DEFEND - OPTION TO TENDER DEFENSE
                           (GENERAL PROVISIONS)
Regarding the Liability Coverage Parts only, it is agreed that:

1.     General Provisions Section 8. Defense of Claims, A. and B. are deleted and replaced by:

       A.    It shall be the duty of the Insureds to defend any Claim. The Insurer does not assume any
             duty to defend any Claim. However, the Named Organization may, solely at such time as
             a Claim is reported to the Insurer, at its sole option tender the defense of a Claim for which
             coverage is provided under a Liability Coverage Part. Regardless of whether the Insurer
             assumes the defense of such Claim, the Insurer shall have the right to associate itself in the
             defense and settlement of any Claim that appears reasonably likely to involve this policy.
             The Insurer may make any investigation it deems appropriate.

       B.    If the Named Organization:

             1.    tenders the defense of a Claim to the Insurer, the Insurer’s duty to defend such
                   Claim shall end upon exhaustion of any applicable Limit of Liability.

             2.    does not tender the defense of a Claim to the Insurer, the Insurer shall, at the
                   written request of the Insureds, advance Defense Costs excess of the applicable
                   Retention prior to the final disposition of any Claim.

             If any applicable Limit of Liability is exhausted, the premium for this Policy shall be fully
             earned.

2.     General Provisions Section 11. Allocation is deleted and replaced by:

       Regarding the Liability Coverage Parts only, if the Insureds incur Loss that is only partially
       covered by this Policy because a Claim includes both covered and uncovered matters or because
       a Claim is made against both covered and uncovered parties, Loss shall be allocated between
       covered Loss and non-covered loss based upon the relative legal exposure of all parties to such
       matters.

       However, notwithstanding the above, if the Named Organization tenders the defense of a Claim
       for which coverage is provided under this Policy, then coverage for such Claim shall apply as
       follows:

       A.    100% of Defense Costs shall be allocated to covered Loss; and

       B.    Loss other than Defense Costs shall be allocated between covered and non-covered Loss
             based upon the relative legal exposure of the parties to such matters.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 6
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015



00 PCD0204 00 09 09                                                                              Page 1 of 1
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       NAMED CO-DEFENDANTS EXTENSION FOR
                     PRIVATE EQUITY AND VENTURE CAPITAL FIRMS

                                     (GENERAL PROVISIONS)
Regarding the General Provisions, it is agreed that:

1.     Section 4. Coverage Extensions, is amended to add:

       Named Co-Defendants Extension

       Coverage afforded under this Policy shall extend to the Named Co-Defendants to the extent that,
       and for as long as, a Claim is jointly made and continuously maintained against both an Insured
       and the Named Co-Defendants, provided that:

       a.    coverage shall only be afforded for Loss for a Wrongful Act of an Insured;

       b.    the Named Co-Defendants become co-defendants in such Claim by reason of their actual
             or alleged status as a controlling shareholder; and

       c.    The Insured and the Named Co-Defendants are represented by the same legal counsel.

2.     Section 2. Definitions, is amended to add:

       “Named Co-Defendants” means the Sponsor Organization or any Affiliated Entity or any
       directors, officers, general partners, managing directors or employees thereof.

       “Sponsor Organization” means:

       Falcon Investment Advisors, LLC

       “Affiliated Entity” means any entity that is:

       a.    A pooled investment vehicle created, managed or controlled by the Sponsor Organization;

       b.    An investment or management company controlled by the Sponsor Organization that
             renders services to an Affiliated Entity in paragraph a. above; or

       c.    A special purpose vehicle created and controlled by the Sponsor Organization for the
             purpose of making an acquisition of the Named Organization

3.     Any coverage afforded for a Named-Codefendant shall be on the same terms and conditions as
       apply to a Claim made against an Insured.

All other terms and conditions of this Policy remain unchanged.




00 ME0171 00 11 15                                                                        Page 1 of 2
00 ML0207 00 11 03                    EXHIBIT B - Page No. 71
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Endorsement Number: 7
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




00 ME0171 00 11 15                                                                             Page 2 of 2
00 ML0207 00 11 03                    EXHIBIT B - Page No. 72
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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  AMEND COVERAGE PART COORDINATION PROVISION
Regarding the General Provisions, it is agreed that Section 26. Coverage Part Coordination, A. is deleted
and replaced by:

      A.     If any Loss is covered under two or more Liability Coverage Parts:

             1.    the Insureds shall be entitled to recover Loss only once; and

             2.    the maximum aggregate amount that the Insurer shall pay for all Loss arising from a
                   single Claim shall be the largest remaining applicable Limit of Liability, and, if elected,
                   the remaining Defense Costs Outside the Limit of Liability amount.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 8
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




00 PCD0396 00 05 12                                                                                Page 1 of 1
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       AMENDMENTS TO DIRECTORS, OFFICERS, & ORGANIZATION LIABILITY
                       COVERAGE PART (LOCKTON)
Regarding the Directors, Officers, & Organization Liability Coverage Part, it is agreed that:

1.     ARBITRATION, ADR, WELLS NOTICE, AND EXTRADITION COVERAGE

       A.    Section 2. Definitions, A. “Claim” is deleted and replaced by:

             A.     “Claim” means any:

                    1.    written demand or notice for civil monetary damages or other civil
                          non-monetary relief commenced by the Insured’s receipt of such demand or
                          notice;

                    2.    civil proceeding, including but not limited to any arbitration proceeding or other
                          alternative dispute resolution (ADR) proceeding, commenced by the service
                          upon the Insured of a complaint, demand for arbitration, or similar pleading;

                    3.    a criminal proceeding commenced by the return of an indictment, information,
                          or similar document;

                    4.    formal civil, criminal, administrative, or regulatory proceeding commenced by
                          the filing of a notice of charges or similar document, or by the entry of a formal
                          order of investigation or similar document;

                    5.    solely for purposes of Insuring Agreement D, any Derivative Demand;

                    6.    written request to an Insured to toll or waive the statute of limitations regarding
                          a potential Claim as described in 1 and 2 above commenced by the Insured’s
                          receipt of such request;

                    7.    civil, criminal, administrative, or regulatory investigation of an Insured Person
                          once such Insured Person is identified by name in a Wells Notice, subpoena
                          or target letter by such investigating authority as a person against whom a
                          proceeding described in 2, 3 or 4 above may be commenced; or

                    8.    with respect to a criminal proceeding described in 3 above, official request for
                          Extradition, including the execution of an arrest warrant where such execution
                          is an element of the request for Extradition.

       B.    “Extradition” means the formal process by which an Insured Person is requested to be
             surrendered from his or her current country of employ and domicile to any other country for
             trial or to answer any criminal accusation.

2.     ADVISORY BOARD COVERAGE

       Section 2. Definitions, E. “Executive” is amended to add:

             “Executive” also means any natural person who was, is or shall be a duly elected or
             appointed member of an advisory board of any Insured Organization, including, without
             limitation, a medical, scientific, or technology advisory board.




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3.    EMPLOYEE LAWYER COVERAGE

      Section 2. Definitions, E. “Executive”, 2 is deleted and replaced by:

            in-house general counsel of an Insured Organization as well as any other natural person
            employed by an Insured Organization as an in-house attorney; or

4.    AMEND LOSS DEFINITION

      Section 2. Definitions, I. Loss is deleted and replaced by:

      I.    “Loss” means the amount that the Insureds are legally obligated to pay resulting from a
            Claim, including, without limitation, damages, settlements, judgments, pre- and
            post-judgment interest, Defense Costs, and Investigation Costs.

            Loss shall include punitive and exemplary damages and the multiple portion of any
            multiplied damage award where insurable by law. The insurability of such damages shall be
            governed by the laws of any applicable jurisdiction that permits coverage of such damages.

            In determining such applicable jurisdiction, the Insurer shall consider, among other criteria,
            the jurisdiction where:

            1.     the punitive damages were awarded;

            2.     the act giving rise to the punitive damages award occurred;

            3.     the Insured is incorporated or maintains its principal place of business; or

            4.     the Insurer is incorporated or maintains its principal place of business.

            Loss (other than Defense Costs) shall exclude any:

            1.     taxes, fines or penalties imposed by law;

            2.     matters that are uninsurable under the law pursuant to which this Policy shall be
                   construed;

            3.     amount for which the Insureds are not financially liable or for which the claimants are
                   without legal recourse to the Insureds; or

            4.     Non-monetary relief.

5.    SECURITIES ACT SECTIONS 11 & 12 COVERAGE

      The Insurer shall not assert that any Loss incurred is uninsurable due to an actual or alleged
      violation of Sections 11 or 12 of the Securities Act of 1933.

6.    PRIOR INSURANCE NOTICE – SIMILAR POLICIES

      Section 4. Exclusions, A.1 is deleted and replaced by:

            arising from, based upon, or attributable to any fact, circumstance or situation that, before
            the inception date of this Policy, was the subject of any notice given under any other
            directors and officers liability, management liability or similar insurance policy;




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7.     POLLUTION COVERAGE

       Section 4. Exclusions, A.4 is amended to delete and replace the language following paragraph b
       with:

             provided that this exclusion shall not apply to any: (i) Claim involving the purchase or sale of
             securities of any Insured Organization or any interest in such securities; (ii) Derivative
             Demand; or (iii) Derivative Suit.;

8.     FORMER EXECUTIVE CLAIM COVERAGE (NO SERVICE DURING PAST TWO YEARS)

       Section 4. Exclusions, A.6.e is amended by replacing the term “four years” wherever it appears
       with “two years”.

9.     BANKRUPTCY/INSOLVENCY CLAIM COVERAGE

       Section 4. Exclusions, A.6.f is deleted and replaced by:

             brought or maintained by or on behalf of a bankruptcy or insolvency trustee, examiner,
             receiver, creditors committee or similar official or committee for an Insured Organization or
             any assignee of such trustee, examiner, receiver, committee or similar official or committee
             if such Claim is made without the assistance, participation or solicitation of any Executive;

10.    WHISTLEBLOWER COVERAGE

       For purposes of this Liability Coverage Part, the lawful provision of information or other assistance
       by an Insured Person to any investigation conducted by any:

       A.    regulatory or legal enforcement agency;

       B.    governmental legislative body or committee thereof;

       C.    Employee with supervisory authority over the Insured Person; or

       D.    Employee with authority to investigate corporate misconduct,

       shall not be considered “solicitation, assistance or participation” to the extent that the Insured
       Person reasonably believes that the conduct being investigated constitutes a violation of any
       federal, state, local or foreign law.

11.    PRIVATE PLACEMENT & FAILED IPO COVERAGE

       Section 4. Exclusions, A.9 is deleted and replaced by:

             arising from, based upon, or attributable to any public offering of equity securities of an
             Insured Organization or the purchase or sale of such securities subsequent to such public
             offering; provided that this exclusion shall not apply to any Claim:

             a.     for a Wrongful Act in an offering, sale, or purchase of equity securities in a
                    transaction that is exempt from registration under the Securities Act of 1933;

             b.     made by any security holders of an Insured Organization for the failure of the
                    Insured Organization to undertake or complete an initial public offering of securities
                    of such Insured Organization; or




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             c.    for a misrepresentation in connection with the preparation for an initial public offering
                   of securities of any Insured Organization that does not occur.

12.    PERSONAL PROFIT EXCLUSION – FINAL ADJUDICATION

       Section 4. Exclusions, A.10 is deleted and replaced by:

             arising from, based upon, or attributable to the gaining of any personal profit, remuneration
             or advantage to which such Insured is not legally entitled if a final adjudication in such
             Claim establishes that such profit, remuneration or advantage occurred; or

13.    CONDUCT EXCLUSIONS – IMPUTATION LIMITATIONS

       Section 4. Exclusions, A is amended by replacing the paragraph following exclusion 11 with:

             Regarding exclusions 10 and 11 above: (i) no Wrongful Act of any Insured Person shall be
             imputed to any other Insured Person; and (ii) only a Wrongful Act by a past, present or
             future chief executive officer, chief operating officer or chief financial officer of any Insured
             Organization shall be imputed to an Insured Organization.

14.    OMNIBUS PROFESSIONAL SERVICE EXCLUSION – SECURITIES CLAIM, DERIVATIVE
       DEMAND, & DERIVATIVE SUIT COVERAGE

       A.    Section 4. Exclusions, B.3 is deleted.

       B.    The Insurer shall not pay Loss for any Claim against an Insured arising from, based upon,
             or attributable to any rendering of, or failure to render, any professional services for others,
             including, without limitation, services performed by the Insureds for or on behalf of a
             customer or client, provided that this exclusion shall not apply to any Derivative Demand,
             Derivative Suit, or any Claim involving the purchase or sale of securities of any Insured
             Organization or any interest in such securities.

15.    INTELLECTUAL PROPERTY EXCLUSION EXCEPTIONS

       Section 4. Exclusions, B.5 shall not apply to pay Derivative Demand, Derivative Suit, or any
       Claim involving the purchase or sale of securities of any Insured Organization or any interest in
       such securities.

16.    WAGE AND HOUR EXCLUSION

      The Insurer shall not pay Loss for any Claim against an Insured arising from, based upon, or
      attributable to any unpaid wages (including overtime pay), workers’ compensation benefits,
      unemployment compensation, disability benefits, improper payroll deductions, improper employee
      classification, failure to maintain accurate time records, failure to grant meal and rest periods, or
      social security benefits, provided that this exclusion shall not apply to any: (i) Claim involving the
      purchase or sale of securities of any Insured Organization or any interest in such securities; (ii)
      Derivative Demand; or (iii) Derivative Suit.

17.    ORDER OF PAYMENTS – BANKRUPTCY CLARIFICATION

       Section 5. Priority of Non-Indemnifiable Loss Payments is deleted and replaced by:

       A.    In the event of Loss arising from one or more Claim(s) for which payment is due under the
             provisions of this Policy, then this Policy shall:




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             1.     first, pay such Loss for which coverage is provided under Insuring Agreement A of
                    this Policy;

             2.     second, only if and to the extent the payment under Insuring Agreement A does not
                    exhaust the Limit of Liability, then pay such Loss for which coverage is provided
                    under Insuring Agreement B of this Policy;

             3.     third, only if and to the extent the payments under Insuring Agreements A and B do
                    not exhaust the Limit of Liability, then pay such Loss for which coverage is provided
                    under Insuring Agreement C of this Policy; and

             4.     fourth, once all such Loss is paid, pursuant, first, to subsection (1), then subsection
                    (2) and then, subsection (3) of this Section 5, the remaining Limits of Liability to the
                    Insured Organization’s then-current directors and officers, subject to all of the
                    Policy’s other terms and conditions.

       B.    Nothing in this Clause shall be construed to increase the Limit of Liability of the Insurer.
             The Limit of Liability shall remain the maximum aggregate amount that the Insurer shall pay
             for all Claims under all Coverage Parts of this Policy combined.

       C.    The bankruptcy or Insolvency of any Insured shall not diminish or otherwise affect the
             Insurer’s obligation under this Policy.

       D.    In the event that any Insured for any reason seeks any order, ruling or other determination
             from any court or other authority that amounts may be paid under this Policy notwithstanding
             the Insolvency of any Insured Organization or any other person or entity, then such
             amounts shall be considered Defense Costs within the meaning of this Policy.

18.    AMEND DEFINITION OF WRONGFUL ACT – DELETE “SOLELY”

       Section 2. Definitions, L.2. is deleted and replaced by:

             2.     matter claimed against an Insured Person by reason of their serving in such
                    capacity, including in an Outside Capacity.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 9
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        OUTSIDE CAPACITY EXCLUSION – PRIVATE EQUITY CLARIFICATION
                                 (D&O)

It is agreed that Directors, Officers, & Organization Liability Coverage Part, Section 4. Exclusions, A.7 is
deleted and replaced by:

7.     arising from, based upon, or attributable to any Insured Person serving as a director, officer,
       trustee, regent, governor or equivalent executive or as an employee of any entity other than an
       Insured Organization even if such service is at the direction or request of the Insured
       Organization, provided that this exclusion shall not apply to:

       a.    any Claim for a Wrongful Act by an Insured Person in an Outside Capacity; or

       b.    that portion of Loss for any Claim for Wrongful Acts of an Executive who is serving as a
             director or equivalent position of an Insured Organization at the direction of a Private
             Equity Sponsor but only to the extent that such Claim is made against such Executive for
             Wrongful Acts both in his or her capacity as an Executive of an Insured Organization and
             in his or her capacity as a director, officer, trustee, regent, governor or equivalent position or
             as an employee of a Private Equity Sponsor.

       Solely for the purpose of this endorsement, “Private Equity Sponsor” shall mean:

       Falcon Investment Advisors, LLC; Knox Lawrence International, LLC

All other terms and conditions of this policy remain unchanged.

Endorsement Number: 10
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  ANTITRUST EXCLUSION – DEFENSE COSTS SUBLIMIT
                              (D&O COVERAGE PART)
Regarding the Directors, Officers, & Organization Liability Coverage Part, it is agreed that:

1.     Section 4. Exclusions, B.6 is deleted.

2.     The Insurer shall not pay Loss for any Antitrust Claim against an Insured.

3.     “Antitrust Claim” means any Claim arising from, based upon, or attributable to any price fixing,
       restraint of trade, monopolization, unfair trade practices or any violation of the Federal Trade
       Commission Act, Sherman Anti-Trust Act, Clayton Act, or any similar law regulating anti-trust,
       monopoly, price fixing, price discrimination, predatory pricing or restraint of trade activities,
       regardless of whether such Claim also includes other non-antitrust allegations.

4.     General Provision Section 11. Allocation shall not apply to any Antitrust Claim.

5.     Notwithstanding the above, the Insurer shall provide Defense Costs for an Antitrust Claim
       provided that such coverage shall be subject to the following:

       A.    The Insurer’s maximum liability for all Defense Costs shall be a Sublimit of Liability of
             $1,000,000. Such Sublimit of Liability shall be the maximum aggregate amount that the
             Insurer shall pay under this coverage. Such Sublimit of Liability shall be part of, and not in
             addition to, the limit of liability applicable to this Liability Coverage Part.

       B.    It shall be the duty of the Insureds to defend any Antitrust Claim.

       C.    The Insurer shall not have any duty to defend any Antitrust Claim, provided that the
             Insurer shall have the right to:

             1.     associate with the Insureds in the defense of any Antitrust Claim; and

             2.     make any investigation it deems appropriate.

       D.    At the written request of the Insureds, the Insurer shall advance Defense Costs excess of
             the applicable Retention prior to the final disposition of any Antitrust Claim, provided that
             the Insureds shall repay such Defense Costs if it is subsequently determined that such
             Defense Costs are not covered under this Policy.

       E.    The Insureds shall not admit nor incur any Defense Costs without the prior written consent
             of the Insurer, such consent not to be unreasonably withheld. The Insurer shall not be
             liable for any Defense Costs to which it has not consented.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 11
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       CRISIS MANAGEMENT EXPENSES FOR NETWORK SECURITY BREACH
                     (D&O LIABILITY COVERAGE PART)
Regarding the Directors, Officers, & Organization Liability Coverage Part, it is agreed that:

1.     Section 1. Insuring Agreements is amended to add:

             The Insurer shall pay Crisis Management Expenses on behalf of an Insured
             Organization resulting from a Network Security Breach or Privacy Violation occurring
             during the Policy Period.

             The Insurer’s maximum liability for all Crisis Management Expenses shall be a Sublimit of
             Liability of $25,000. Such Sublimit of Liability shall be the maximum aggregate amount that
             the Insurer shall pay under this Insuring Agreement. Such Sublimit of Liability shall be part
             of, and not in addition to, the limit of liability applicable to this Liability Coverage Part. No
             Deductible shall apply to this Insuring Agreement.

2.     Section 2. Definitions is amended to add:

       A.    “Computer System” means any computer hardware, software or firmware, and
             components thereof including data stored thereon, that is owned or leased by an Insured
             Organization, and is under the direct operational control of an Insured Organization;
             provided that Computer System does not include any disconnected devices including, but
             not limited to, laptops, mobile devices or memory storage data devices.

       B.    “Crisis Management Expenses” means reasonable and necessary fees and expenses
             incurred by an Insured, with the Insurer’s prior written consent, for:

             1.     public relations firm services to mitigate reputational damage resulting from any
                    Network Security Breach or Privacy Violation; and

             2.     legal services (by an attorney selected from the Insurer’s panel of lawyers) regarding
                    any Network Security Breach or Privacy Violation to:

                    a.    provide counsel on the obligations of any applicable Privacy Law; and

                    b.    draft notices required by any applicable Privacy Law.

             Crisis Management Expenses shall exclude any: (i) compensation, internal expenses or
             overhead of any Insured; or (ii) payments made as compensation for any injury or damages
             resulting from any Network Security Breach or Privacy Violation.

       C.    “Malicious Code” means any virus, Trojan, worm or other similar malicious software
             program, code or script designed to infect, harm, harm data on, or steal data from, a
             computer system.

       D.    “Network Security Breach” means any:

             1.     unauthorized access to, or unauthorized use of, a Computer System; or

             2.     transmission of Malicious Code into or from a Computer System.

       E.    “Privacy Violation” means any:



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           1.    theft or unauthorized copying of Private Information while in the care, custody or
                 control of an Insured; or

           2.    violation of a Privacy Law by an Insured.

     F.    “Privacy Law” means those parts of the following laws regulating the use and protection of
           non-public personal information:

           1.    Health Insurance Portability and Accountability Act of 1996 (HIPAA);

           2.    Gramm-Leach Bliley Act of 1999 (GLBA);

           3.    consumer protection and unfair and deceptive trade practice laws enforced by state
                 Attorneys General or the Federal Trade Commission, including, without limitation,
                 Section 5(a) of the FTC Act 15;

           4.    security breach notification laws that require notice to individuals of the actual or
                 potential theft of their non-public personal information, including, without limitation, the
                 California Security Breach Notification Act of 2003 (CA SB 1386); or

           5.    domestic or foreign privacy laws requiring reasonable security for non-public personal
                 information or the adoption of a privacy policy limiting the sale, disclosure or sharing
                 of non-public personal information.

     G.    “Private Information” means any:

           1.    individual’s name in combination with any of the following:

                 a.    social security number;

                 b.    drivers license number or any other state identification number;

                 c.    medical or healthcare data, including protected health information; or

           2.    non-public personal information as defined in any Privacy Law; or

           3.    confidential or proprietary business information of a third-party that is protected under
                 a written non-disclosure agreement between such third-party and an Insured
                 Organization.

     3.    Regarding the coverage provided under this Endorsement, General Provisions Sections 4.
           Coverage Extensions, 5. Extended Reporting Period, 7. Deductible, 8. Defense of Claims, 9.
           Claim and Potential Claim Notices, 10. Interrelated Claims, and 11. Allocation shall not
           apply.

     4.    Regarding the coverage provided under this Endorsement, the Insureds shall give to the
           Insurer all information and cooperation as the Insurer may reasonably request.

     5.    Regarding the coverage provided under this Endorsement and as a condition precedent to
           coverage, the Insureds shall give to the Insurer written notice of any Network Security
           Breach or Privacy Violation for which Crisis Management Expenses coverage is
           requested. Such notice shall be given as soon as practicable provided that such notice shall
           be no later than 60 days after the end of the Policy Period.

     6.    Regarding the coverage provided under this Endorsement, Section 4. Exclusions shall not
           apply.



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      7.     Regarding the coverage provided under this Endorsement, section 2. Definitions, I. “Loss” is
             amended to add:

                “Loss” shall include Crisis Management Expenses.

All other terms and conditions of this Policy remain unchanged.


Endorsement Number: 12
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ADDITIONAL LIMIT OF LIABILITY – $1,000,000 (SAME CLAIM)
                       (D&O LIABILITY COVERAGE PART)
Regarding the Directors, Officers, & Organization Liability Coverage Part, it is agreed that:

A.    Item 6. of the Declarations, Directors, Officers, & Organization Liability Coverage Part, Options, the
      amount of $500,000 is deleted and replaced with $1,000,000.

B.    Section 6. Additional Limit of Liability is deleted and replaced by:

      6.     ADDITIONAL LIMIT OF LIABILITY

             A.     If an additional $1,000,000 Limit of Liability for Claims against Insured Persons
                    (“Additional Limit of Liability”) is elected in Item 6 of the Declarations, then an
                    Additional Limit of Liability of $1,000,000 shall be available to pay Non-Indemnifiable
                    Loss covered under Insuring Agreement A.

             B.     Any Additional Limit of Liability shall be in addition to, and not part of, the Limit of
                    Liability otherwise applicable to this Liability Coverage Part as specified in Item 6 of
                    the Declarations.

             C.     Any Additional Limit of Liability shall be excess of any valid and collectible insurance
                    that is specifically excess of this Policy. Such excess insurance must be exhausted
                    by the payment of loss covered thereunder before the Insurer shall be liable to pay
                    the Additional Limit of Liability.

             D.     Non-Indemnifiable Loss covered under Insuring Agreement A shall be allocated
                    between, and paid by the Insurer under, the applicable Limit of Liability specified in
                    Item 6 of the Declarations and any Additional Limit of Liability in whatever portions will
                    maximize the total amount of covered Loss being paid under this Policy.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 13
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ARCH CANOPY PREMIERSM WITH CONTINUITY PROTECTION
               EMPLOYMENT PRACTICES LIABILITY COVERAGE PART
Regarding the Employment Practices Liability Coverage Part, it is agreed that:

1.     CLAIM DEFINITION

       Section 2. Definitions, B. “Claim” is deleted and replaced by:

             “Claim” means any:

             1.     written demand for monetary damages or non-monetary relief commenced by the
                    receipt by any Insured of such demand;

             2.     civil proceeding, including, without limitation, a lawsuit, arbitration or alternative
                    dispute resolution proceeding, commenced by the receipt by, or service upon, any
                    Insured of a complaint, demand for arbitration, request for mediation, or similar
                    document;

             3.     administrative or regulatory proceeding, including, without limitation, any proceeding
                    before the Equal Employment Opportunity Commission, any state or local fair
                    employment practices agency, or the Office of Federal Contract Compliance
                    Programs, commenced by the receipt by, or service upon, any Insured of an EEOC
                    Charge, notice of charges, order to show cause or similar document;

             4.     administrative or regulatory investigation of any Insured commenced by the receipt
                    by, or service upon, any Insured of a formal investigative order; or

             5.     written request to an Insured to toll or waive a period or statute of limitations
                    regarding a potential Claim as described above commenced by the receipt by any
                    Insured of such request.

             Notwithstanding the above, Claim excludes any: (i) criminal proceeding or investigation; (ii)
             labor or grievance proceeding initiated pursuant to a collective-bargaining agreement; or (iii)
             audit by the Office of Federal Contract Compliance Programs.

2.     CONTINUITY PROTECTION COVERAGE

       A.    “Related Claim” means each Claim for the same Wrongful Act or any Interrelated
             Wrongful Acts.

       B.    Notwithstanding General Provisions Section 10. Interrelated Claims, A, if a Prior EPL
             Policy is listed in this endorsement and a Claim for a Wrongful Act as specified in Section
             2. Definitions, K “Wrongful Act”, 1 that is an EEOC Charge or Written Demand was
             commenced during the policy period of such Prior EPL Policy and notice of such EEOC
             Charge or Written Demand was not given under such Prior EPL Policy, then:

             a.     such EEOC Charge or Written Demand; and

             b.     any Related Claim commenced during the Policy Period that is a: (i) civil lawsuit,
                    arbitration or alternative dispute resolution proceeding; (ii) administrative or regulatory
                    proceeding; or (iii) administrative or regulatory investigation (each a “Subsequent




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                    Related Claim”),

           shall be deemed a Claim first made during the Policy Period.

     C.    Coverage for any EEOC Charge, Written Demand, or Subsequent Related Claim described
           in B above shall only be available if:

           1.       no Claim Manager was aware of such EEOC Charge or Written Demand prior to
                    theexpiration of the time to give notice of such Claim under the Prior EPL
                    Policy;

           2.       no Related Claim to such EEOC Charge or Written Demand that is a: (i) civil
                    lawsuit, arbitration or alternative dispute resolution proceeding; (ii) administrative or
                    regulatory proceeding; or (iii) administrative or regulatory investigation, was
                    commenced prior to the Policy Period;

           3.       such EEOC Charge or Written Demand would have been covered under the Prior
                    EPL Policy had notice of such Claim been given under the Prior EPL Policy; and

           4.       written notice is given to the Insurer of such Claim no later than 60 days after the
                    earlier of: (i) the date that any Claim Manager became aware of such Claim; or (ii)
                    the end of the Policy Period.

     D.    Coverage for any EEOC Charge, Written Demand, or Subsequent Related Claim described
           in B above shall only apply to Loss incurred after the earliest date that: (i) any Claim
           Manager became aware of such EEOC Charge or Written Demand; or (ii) the date the
           Subsequent Related Claim was commenced. The maximum coverage available under this
           Policy for any such EEOC Charge, Written Demand, or Subsequent Related Claim shall be
           the lesser of the coverage available under the Prior EPL Policy or this Policy taking into
           account all of the terms, conditions and exclusions of each policy, including, without
           limitation, the applicable retention or deductible and available limit of liability under each
           policy as reduced by payments of Loss.

     E.    “Claim Manager” means any of the following designated positions (as indicated with an “X”)
           of the Named Organization, including any functionally equivalent positions:

                X      chief executive officer;

                X     chief financial officer;

                X     member of the in-house risk management or law departments;

                X     director of the human resources department, or


     F.    “EEOC Charge” means any written charge filed by an Employee, applicant for employment
           with any Insured Organization, or Independent Contractor with the Equal Employment
           Opportunity Commission or any state or local fair employment practices agency. EEOC
           Charge excludes any lawsuit, proceeding, or investigation initiated by the Equal
           Employment Opportunity Commission or any state or local fair employment practices
           agency.

     G.    “Prior EPL Policy” means the policy immediately preceding this Policy as specified below:

           Arch Insurance Company, Policy # PCD9300378-01

     H.    “Written Demand” means any Claim that is a written demand or request as described in


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            Section 2. Definitions, B.1 or 5.

3.    LOANED EMPLOYEE COVERAGE

      Section 2. Definitions, C. “Employee” is deleted and replaced by:

            “Employee” means any natural person whose labor or service was, is or shall be engaged
            and directed by any Insured Organization, including fulltime, part-time, seasonal, leased,
            loaned or temporary employees as well as volunteers. Employee shall not include any
            Independent Contractor.

4.    PRIOR INSURANCE NOTICE – SIMILAR POLICIES

      Section 3. Exclusions, A.1 is deleted and replaced by:

            arising from, based upon, or attributable to any fact, circumstance or situation that, before
            the inception date of this Policy, was the subject of any notice given under any other
            employment practices liability, management liability or similar insurance policy;

5.    PRIOR & PENDING LITIGATION

      Section 3. Exclusions, A. 2 is deleted and replaced by:

                   arising from, based upon, or attributable to any:

                   a.    written demand, suit or proceeding made or initiated against any Insured on or
                         prior to the applicable Pending and Prior Litigation Date in Item 6 of the
                         Declarations; or

                   b.    any Wrongful Act alleged in any such demand, suit, proceeding or any
                         Interrelated Wrongful Acts thereto.

6.    POLLUTION EXCLUSION DELETION

      Section 3. Exclusions, A.4 is deleted.

7.    NEW SUBSIDIARY/MERGER COVERAGE

      Regarding the Employment Practices Liability Coverage Part only, General Provisions Section 14.
      Corporate Transactions, B, last paragraph is deleted and replaced by:

            If the number of employees of a newly merged or acquired entity exceeds 35% of the
            number of employees of all Insured Organizations combined prior to such merger or
            acquisition, then as a condition precedent to coverage for such new Insureds, the Named
            Organization shall give the Insurer written notice of the transaction as soon as practicable
            and shall pay any reasonable additional premium, and shall agree to any additional terms
            and conditions, required by the Insurer. The Insureds shall furnish all information regarding
            such transaction as the Insurer shall request.

8.    WRONGFUL ACT DEFINITION

      Section 2. Definitions K. “Wrongful Act” is deleted and replaced by:

            “Wrongful Act” means:




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           1.    Regarding Insuring Agreement A, any actual or alleged:

                 a.     wrongful dismissal, discharge or termination of employment, including
                        constructive dismissal, discharge, or termination;

                 b.     employment discrimination based on age, gender, race, color, national origin,
                        religion, creed, sexual orientation or preference, marital status, gender identity
                        or expression, pregnancy, disability, health status, HIV status, military or
                        veteran status, genetic makeup, political affiliation, or any other protected
                        status specified under federal, state or local law;

                 c.     sexual or other workplace harassment, including, without limitation, hostile work
                        environment, bullying, or quid-pro-quo;

                 d.     wrongful deprivation of a career opportunity, demotion, failure to employ or
                        promote, discipline of employees, or failure to grant tenure;

                 e.     breach of any oral, written, or implied employment contract or agreement
                        including, without limitation, any obligation arising out of any employee manual,
                        handbook, or policy statement;

                 f.     Retaliation;

                 g.     violation of the Family and Medical Leave Act; or

                 h.     provided that the following conduct relates to matters described in paragraphs
                        a through g above:

                        1.     invasion of privacy;

                        2.     infliction of emotional distress or mental anguish;

                        3.     employment related defamation, including, without limitation, a negative
                               or defamatory employment reference;

                        4.     employment related misrepresentation;

                        5.     failure to provide or enforce adequate or consistent corporate
                               employment policies and procedures; or

                        6.     negligent hiring, retention, supervision, evaluation or training of
                               Employees,

                        committed or attempted: (i) against any Employee, applicant for employment
                        with any Insured Organization, or Independent Contractor; and (ii) by any
                        Insured Person in their capacity as such or any Insured Organization.

           2.    Regarding Insuring Agreement B, any actual or alleged discrimination, sexual
                 harassment, or violation of a Third Party’s civil rights relating to such discrimination
                 or sexual harassment, by any Insured Persons in their capacity as such or by any
                 Insured Organization.

           Without limitation, the conduct described in 1 and 2 above shall include matters carried out
           by any means in any location, including the Internet (i.e. e-mail, instant messaging, social
           networking services, blogs, etc.), regardless of whether access to the Internet is effected: (i)




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             on or off the premises of any Insured Organization; or (ii) through any computer or device
             owned or leased by any Insured Organization, Insured Person, or others.

9.    RETALIATION DEFINITION

      Section 2. Definitions, H. “Retaliation” is deleted and replaced by:

             “Retaliation” means any negative treatment of an Employee or Independent Contractor
             in response to an Employee or Independent Contractor:

             1.    exercising his or her rights under law, including, without limitation, rights under any
                   workers compensation laws, the Family and Medical Leave Act, or the Americans with
                   Disabilities Act;

             2.    refusing to violate any law;

             3.    assisting, testifying in, or cooperating with, a proceeding or investigation regarding
                   alleged violations of law;

             4.    disclosing or threatening to disclose to a superior or to any governmental agency any
                   alleged violations of law; or

             5.    filing any claim under the False Claims Act, the Sarbanes-Oxley Act of 2002, the
                   Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010, or any similar
                   law that protects a “whistleblower”.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 14
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         WORKPLACE VIOLENCE COVERAGE
                  (EMPLOYMENT PRACTICES LIABILITY COVERAGE PART)
Regarding the Employment Practices Liability Coverage Part and for the purposes of coverage in this
Endorsement only, it is agreed that:

                                             DECLARATIONS
1.     Aggregate Single Loss Limit of Liability:                    $250,000

2.     Deductible:                                                  $0

                                          TABLE OF CONTENTS
1.     INSURING AGREEMENT
2.     DEFINITIONS
3.     EXCLUSIONS
4.     LIMIT OF LIABILITY
5.     PRIOR LOSS COVERAGE
6.     LOSS REPORTING RIGHTS AND DUTIES
7.     LOSS COOPERATION

1.     INSURING AGREEMENT

       The Insurer shall reimburse Workplace Violence Costs resulting from any Workplace Violence
       first commenced during the Policy Period.

2.     DEFINITIONS

       Whether used in the singular or plural, the following terms shall have the meanings specified
       below:

       A.    “Discovery” means knowledge acquired by an Executive that would cause a reasonable
             person to believe (i) a covered Loss has occurred or (ii) that circumstances have arisen that
             may subsequently result in a covered Loss, including Loss:

             1.      sustained prior to the inception date specified in Item 2 of the Declarations for this
                     Policy; or

             2.      for which exact details are unknown.

       B.    “Employee” means any natural person whose labor or service is engaged and directed by
             any Insured Organization, including any: (i) Executive; (ii) fulltime, part-time, seasonal,
             leased or temporary employee; or (iii) volunteer. Employee shall not include any
             Independent Contractor.

       C.    “Executive” means any natural person who is a duly elected or appointed:

             1.      director, officer, or member of the board of managers or management committee of
                     an Insured Organization;




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            2.     in-house general counsel of an Insured Organization; or

            3.     manager of an Insured Organization organized outside the United States of America
                   if such manager holds a position equivalent to those specified in 1 or 2 above.

      D.    “Insured Person” means any natural person who is:

            1.     an Employee; or

            2.     visiting the Premises for a lawful purpose.

      E.    “Insured” means any:

            1.     Insured Organization; or

            2.     Insured Person.

      F.    “Loss” means any Workplace Violence Costs.

      G.    “Premises” means buildings, facilities or properties occupied by an Insured Organization
            in conducting its business activities.

      H.    “Workplace Violence” means an intentional and unlawful act perpetrated against an
            Insured Person within the Premises involving use of a deadly weapon, or threat of such
            use.

      I.    “Workplace Violence Costs” means the following reasonable costs incurred by an Insured
            Organization in response to any Workplace Violence:

            1.     security guard services for up to 15 days;

            2.     security consulting for up to 90 days;

            3.     public-relations consulting for up to 90 days;

            4.     a single group counseling for Employees; and

            5.     forensics analysis.

3.    EXCLUSION

      The Insurer shall not be liable to pay Loss resulting from any:

      A.    Workplace Violence initiated in connection with a demand for money, securities or other
            property;

      B.    declared or undeclared war, civil war, insurrection, rebellion or revolution, military, naval or
            usurped power, governmental intervention or authority, expropriation or nationalization, or
            any act or condition incident or related to any of the foregoing; or

      C.    attorneys fees, expenses, settlements, judgments, penalties or other amounts incurred in
            defending or prosecuting any legal proceeding or claim involving any Workplace Violence.

4.    LIMIT OF LIABILITY



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      A.   The Insurer’s maximum liability for each single Loss under this Endorsement shall not
           exceed the Aggregate Single Loss Limit of Liability specified in item 1 of the Declarations of
           this Endorsement, regardless of the number of Insureds incurring such Loss. The
           Aggregate Single Loss Limit of Liability specified in item 1 of the Declarations of this
           Endorsement shall be part of, and not in addition to, the Limit of Liability for this Liability
           Coverage Part.

      B.   All Loss arising out of a single incident or related incidents of Workplace Violence shall be
           considered a single Loss.

      C.   If there is more than one Insured, the maximum liability of the Insurer for any single Loss
           sustained by more than one Insured shall not exceed the amount for which the Insurer
           would have been liable if the single Loss had been sustained by one Insured.

      D.   The amount that the Insurer shall pay for any single Loss shall not be cumulative from
           Policy Period to Policy Period.

      E.   Unless specified in the Declarations of this Endorsement, there is no Deductible applicable
           to any Loss covered under this Endorsement.

5.    PRIOR LOSS COVERAGE

      In addition to Loss resulting from any Workplace Violence first commenced during the Policy
      Period, coverage shall extend to Loss resulting from any Workplace Violence first commenced
      prior to the inception of the Policy Period provided that:

      A.   an Insured Organization had substantially identical coverage in effect at the time of the
           prior Workplace Violence, such coverage was continuously maintained until the inception of
           this coverage, and Discovery of such Loss occurred after the time allowed for reporting
           such Loss under the prior coverage;

      B.   if prior coverage was provided by the Insurer or any affiliate of the Insurer, such prior
           coverage shall be terminated as of the inception of this coverage; and

      C.   the Insurer’s maximum liability for each single Loss under this Endorsement shall not
           exceed the lesser of the applicable limit or sublimit of liability under this Endorsement or the
           limit or sublimit of liability available under the prior coverage.

6.    LOSS REPORTING RIGHTS AND DUTIES

      A.   Knowledge possessed by any Insured or Discovery shall be deemed knowledge possessed
           or Discovery by all Insureds.

      B.   Upon Discovery and as a condition precedent to coverage, the Named Organization shall
           provide to the Insurer:

           1.    written notice of Discovery as soon as practicable, but no later than 60 days after the
                 end of the Policy Period; and

           2.    a sworn proof of Loss with full particulars.

      C.   No Insured shall institute legal proceedings against the Insurer regarding any Loss more
           than 2 years after Discovery.

7.    LOSS COOPERATION

      The Insureds shall cooperate with the Insurer regarding the handling and processing of all


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      covered matters under this Policy.

All other terms and conditions of this Policy remain unchanged.


Endorsement Number: 15
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EMPLOYEE PRIVACY VIOLATION –
                                DEFENSE COSTS SUB-LIMIT
                                  (EPL COVERAGE PART)
Regarding the Employment Practices Liability Coverage Part, it is agreed that:

1.     The Insurer shall not pay Loss for any Employee Privacy Violation Claim against an Insured.

2.     “Employee Privacy Violation Claim” means any Claim arising from, based upon, or attributable
       to any actual or alleged Employee Privacy Violation, regardless of whether such Claim also
       includes non-Employee Privacy Violation allegations.

3.     “Employee Privacy Violation” means an Insured Organization’s failure to:

       A.    secure a Record from unauthorized access; or

       B.    provide any legally required notice to an Employee whose Record was, or may have been,
             subject to unauthorized access.

4.     “Record” means an Employee’s last name together with either a first name or first initial in
       combination with such Employee’s:

       A.    social security number, driver’s license number or other personal identification number
             (including without limitation, an employee ID number or student ID number);

       B.    financial account number (including, without limitation, a bank account number, retirement
             account number, or healthcare spending account number);

       C.    credit, debit or other payment card number; or

       D.    individually identifiable health information as defined in the Health Insurance Portability and
             Accountability Act of 1996 (“HIPPA”).

5.     General Provisions Section 11. Allocation shall not apply to any Employee Privacy Violation
       Claim.

6.     Notwithstanding the above, the Insurer shall provide Defense Costs for a Employee Privacy
       Violation Claim provided that such coverage shall be subject to the following:

       A.    The Insurer’s maximum liability for all Defense Costs shall be a Sublimit of Liability of
             $250,000. Such Sublimit of Liability shall be the maximum aggregate amount that the
             Insurer shall pay under this coverage. Such Sublimit of Liability shall be part of, and not in
             addition to, the limit of liability applicable to this Liability Coverage Part.

       B.    It shall be the duty of the Insureds to defend any Employee Privacy Violation Claim.

       C.    The Insurer shall not have any duty to defend any Employee Privacy Violation Claim,
             provided that the Insurer shall have the right to:

             1.    associate with the Insureds in the defense of any Employee Privacy Violation
                   Claim; and




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             2.    make any investigation it deems appropriate regarding any Employee Privacy
                   Violation Claim.

      D.     At the written request of the Insureds, the Insurer shall advance Defense Costs excess of
             the applicable Retention prior to the final disposition of any Employee Privacy Violation
             Claim, provided that the Insureds shall repay such Defense Costs if it is subsequently
             determined that such Defense Costs are not covered under this Policy.

      E.     The Insureds shall not admit nor incur any Defense Costs without the prior written consent
             of the Insurer, such consent not to be unreasonably withheld. The Insurer shall not be
             liable for any Defense Costs to which it has not consented.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 16
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              AMEND WAGE & HOUR EXCLUSION
                                  (EPL COVERAGE PART)
Regarding the Employment Practices Liability Coverage Part, it is agreed that:

1.     Section 3. Exclusion, A.5 is amended to delete “(ii) the Fair Labor Standards Act (except the Equal
       Pay Act)”.

2.     The Insurer shall not pay Loss that is based upon, arising out of or in any way related to any
       actual or alleged violation of any Wage and Hour Laws, provided that this exclusion shall not apply
       to Loss resulting from Retaliation.

3.     “Wage and Hour Laws” means any federal, state, or local law regulating the payment of
       compensation to Executives, Employees, or Independent Contractors, including, without
       limitation: (i) the Fair Labor Standards Act (except the Equal Pay Act) or any similar law; (ii) laws
       regulating the payment of overtime, on-call time or minimum wages or the classification of
       employees for the purpose of determining employees’ eligibility for compensation under such laws;
       and (iii) laws regulating meal and rest periods and the maintenance of accurate time records.

For purposes of this Endorsement only and regarding the General Provisions, it is agreed that:

1.     Section 8. Defense of Claims, A. and B. are deleted and replaced by:

       A.    It shall be the duty of the Insureds to defend any Claim that includes any actual or alleged
             violation of any Wage and Hour Laws. The Insurer shall not have any duty to defend any
             Claim that includes any actual or alleged violation of any Wage and Hour Laws provided
             that the Insurer shall have the right to associate with the Insureds in the defense of and
             make any investigation it deems appropriate regarding any such Claim.

       B.    If any applicable Limit is exhausted, the premium for this Policy shall be fully earned.

2.     Section 11. Allocation is deleted and replaced by:

       If the Insureds incur Loss that is only partially covered by this Policy because a Claim includes
       both covered and uncovered matters or because a Claim is made against both covered and
       uncovered parties, Loss shall be allocated between covered Loss and non-covered Loss based
       upon the relative legal exposure of all parties to such matters.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 17
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       AMENDMENTS TO FIDUCIARY LIABILITY COVERAGE PART (LOCKTON)
Regarding the Fiduciary Liability Coverage Part, it is agreed that:

1.     ARBITRATION, MEDIATION AND ADR COVERAGE

       Section 2. Definitions, B. “Claim” is deleted and replaced by:

       B.    “Claim” means any:

             1.     written demand or notice for civil monetary damages or other civil non-monetary relief
                    commenced by the Insured’s receipt of such demand or notice;

             2.     civil proceeding, including but not limited to any arbitration proceeding or other
                    alternative dispute resolution (ADR) proceeding, commenced by the service upon the
                    Insured of a complaint, demand for arbitration, or similar pleading;

             3.     criminal proceeding commenced by the return of an indictment, information or similar
                    pleading;

             4.     formal administrative or regulatory proceeding commenced by the filing of a notice of
                    charges or any similar document;

             5.     formal administrative or regulatory governmental investigation (including a fact-finding
                    investigation by the Department of Labor, Pension Benefit Guaranty Corporation or
                    similar authority) of an Insured commenced by the service upon or other receipt by
                    such Insured of a written notice from an investigating authority identifying such
                    Insured as a target against whom a formal proceeding may be commenced;

             6.     written request to an Insured to toll or waive a statute of limitations regarding a
                    potential Claim as described in 1 through 5 above, commenced by the Insured’s
                    receipt of such request; or

             7.     regarding Insuring Agreement B, a Settlement Program Notice.

2.     MULTIPLE DAMAGES COVERAGE

       A.    Section 2. Definitions, G “Loss”, second paragraph is deleted and replaced by:

             Loss shall include punitive and exemplary damages and the multiple portion of any
             multiplied damage award where insurable by law. The insurability of such damages shall be
             governed by the laws of any applicable jurisdiction that permits coverage of such damages.

       B.    Section 2. Definitions, G “Loss” is amended to delete item 2 of the third paragraph.

3.     INVESTMENT LOSS COVERAGE

       Section 2. Definitions, G “Loss” is amended to add:

             “Loss” shall also include amounts representing a decrease in value of the accounts of a
             Sponsored Plan because of a change in value of the investments held by such Sponsored
             Plan, regardless of whether such amounts have been characterized as “benefits” by counsel
             prosecuting any Claim or any court or tribunal adjudicating any Claim.



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4.    PRIOR INSURANCE NOTICE – SIMILAR POLICIES

      Section 3. Exclusions, A.1 is deleted and replaced by:

            arising from, based upon, or attributable to any fact, circumstance or situation that, before
            the inception date of this Policy, was the subject of any notice given under any other
            fiduciary liability, management liability or similar insurance policy;

5.    PERSONAL PROFIT EXCLUSION – FINAL ADJUDICATION

      Section 3. Exclusions, A.8 is deleted and replaced by:

            arising from, based upon, or attributable to the gaining of any personal profit, remuneration
            or advantage to which such Insured is not legally entitled if a final adjudication in such
            Claim establishes that such profit, remuneration or advantage occurred;

6.    CONDUCT EXCLUSIONS – IMPUTATION LIMITATIONS

      Section 3. Exclusions, A is amended by replacing the paragraph following exclusion 9 with:

            Regarding exclusions 8 and 9 above: (i) no Wrongful Act of any Insured Person shall be
            imputed to any other Insured Person; and (ii) only a Wrongful Act by a past, present or
            future chief executive officer, chief operating officer or chief financial officer of any Insured
            Organization shall be imputed to an Insured Organization or Plan.

7.    WAGE AND HOUR EXCLUSION

      The Insurer shall not pay Loss for any Claim against an Insured arising from, based upon, or
      attributable to any unpaid wages (including overtime pay), workers’ compensation benefits,
      unemployment compensation, disability benefits, failure to grant meal and rest periods, or social
      security benefits.

8.    WAIVER OF RECOURSE

      The Insurer shall have no right of recourse against any Insureds for any payment of Loss made
      by the Insurer under this Liability Coverage Part because of a Wrongful Act by such Insureds if
      the premium for this Policy was paid for by other than a Plan.

9.    PRIORITY OF PAYMENTS & BANKRUPTCY CLARIFICATION

      A.    In the event of Loss arising from one or more Claim(s) for which payment is due under the
            provisions of this Policy, then this Policy shall:

            1.     first, pay such Loss for which coverage is provided for Insured Persons;

            2.     second, only if and to the extent the payment for Insured Persons does not exhaust
                   the Limit of Liability, then pay such Loss for which coverage is provided for Plans ;
                   and

            3.     third, only if and to the extent the payments for Insured Persons and Plans do not
                   exhaust the Limit of Liability, then pay such Loss for which coverage is provided for
                   the Insured Organization.

      B.    For purposes of this Endorsement, nothing herein shall be construed to increase the Limit of
            Liability of the Insurer.



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       C.    The bankruptcy or Insolvency of any Insured shall not diminish or otherwise affect the
             Insurer’s obligation under this Policy.

10.    NON-INDEMNIFIABLE LOSS

       Section 1. Insuring Agreements, A. Fiduciary Liability is deleted and replaced by:

             A.     Fiduciary Liability

                    The Insurer shall pay both Non-Indemnifiable Loss and Indemnifiable Loss on
                    behalf of the Insureds resulting from a Claim first made against the Insureds during
                    the Policy Period or Extended Reporting Period, if applicable, for a Wrongful Act by
                    the Insureds or by any person for whose Wrongful Acts the Insureds are legally
                    responsible.

       For purposes of this Endorsement only:

             “Indemnifiable Loss” means Loss incurred by any Insured Person for which any Insured
             Organization or any Plan has indemnified, or is permitted or required to indemnify, pursuant
             to law or contract or the charter, bylaws, operating agreement, trust documents or similar
             documents of the Insureds or Plan.

             “Non-Indemnifiable Loss” means any Loss incurred by Insured Persons that all Insured
             Organizations or Plans cannot indemnify because of:

             1.     legal prohibition; or

             2.     Insolvency.

             In determining Non-Indemnifiable Loss, all Insured Organizations and Plans shall be
             deemed to provide indemnification to the Insured Persons to the fullest extent permitted or
             required by law.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 18
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      AMEND DEFINITION OF LOSS – HIPAA SUBLIMIT
                            (FIDUCIARY COVERAGE PART)
Regarding the Fiduciary Liability Coverage Part, it is agreed that:

Section 2. DEFINITIONS, G. “Loss”, item 1.c. is deleted and replaced by:

c.     civil penalties imposed upon an Insured for violation of the privacy provisions of the Health
       Insurance Portability and Accountability Act of 1996, provided that the Insurer’s maximum
       aggregate liability for all such civil money penalties under this Policy shall be subject to a sublimit
       of $100,000 that shall be the maximum aggregate amount that the Insurer shall pay for all such
       penalties and shall be part of, and not in addition to, the Limit of Liability applicable to this Liability
       Coverage Part; or

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 19
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        CROWN CANOPY
                                     CRIME COVERAGE PART
Regarding the Crime Coverage Part, it is agreed that:

1.     CHARGE CARD FORGERY OR ALTERATION INSURING AGREEMENT

       A.    The Insurer shall pay Loss by an Insured resulting from a Third Party committing any
             Charge Card Fraud provided that:

             1.    the terms and conditions imposed by the issuer of any credit, debit or charge card
                   have been complied with; and

             2.    the Insured is legally liable for such Loss.

       B.    This Insuring Agreement shall be subject to the following limit of liability and deductible:

             Limit of Liability: $1,000,000

             Deductible: $25,000

       C.    “Charge Card Fraud” means Forgery or Alteration of any Financial Instrument required
             in connection with any corporate credit, debit or charge card issued to any:

             1.    Insured Organization; or

             2.    Executive or Employee provided that an Insured Organization has requested the
                   issuance of such card to such Executive or Employee.

2.     “COMPUTER FRAUD” - OFF-LINE MEDIA COVERAGE

       Section 2. Definitions, C. “Computer Fraud” is amended to add:

             “Computer Fraud” includes Theft directed solely against an Insured Organization through
             the use of computer or computer network off-line media libraries.

3.     EXPANDED “EMPLOYEE” DEFINITION

       Section 2. Definitions, I. “Employee” is amended to add:

             “Employee” also means any natural person:

             1.    non-compensated officer of an Insured Organization;

             2.    former Employee or Executive while retained by, and consulting for, an Insured
                   Organization;

             3.    guest student or intern of an Insured Organization while pursuing studies or duties
                   under the guidance or direction of such Insured Organization;

             4.    partner or limited liability member of an Insured Organization provided that the
                   Insurer shall not pay Loss caused by any partner or limited liability member unless
                   such Loss exceeds the sum of:



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                   a.     any amounts an Insured Organization owes the partner or limited liability
                          member; and

                   b.     the value of such partner’s partnership interest or limited liability member’s
                          ownership interest as determined by the financial records of the Insured
                          Organization on the date of the Discovery;

            5.     furnished to an Insured Organization by a temporary or personnel employment
                   service firm to substitute for a permanent Employee provided that:

                   a.     such Insured Organization has the right to direct and control such person’s
                          services for the Insured Organization; and

                   b.     no coverage shall be provided for any Loss resulting from Theft by such
                          person outside the Premises;

            6.     leased to an Insured Organization under a written agreement with a labor leasing
                   firm to perform duties directly related to such Insured Organization’s business.

4.    EXPANDED “MONEY” DEFINITION

      Section 2. Definitions, R. “Money” is amended to add:

            “Money” also means any bullion, travelers checks, registered checks, or money orders held
            for sale to the general public.

5.    EXPANDED “SECURITIES” DEFINITION

      Section 2. Definitions, X. “Securities” is amended to add:

            “Securities” also means any tokens, tickets, revenue or other stamps in current use and
            evidences of debt issued in connection with credit, debit or charge card not issued by an
            Insured Organization.

6.    COMPUTER RESTORATION COSTS COVERAGE (INSURING AGREEMENTS A, B, & F)

      A.    The Insurer shall pay Computer Restoration Costs incurred by any Insured resulting from
            any Loss covered under Insuring Agreements A, B, or F provided that such Loss exceeds
            the Deductible applicable to the relevant Insuring Agreement.

      B.    This coverage shall be subject to a Sublimit of Liability of $100,000 under Insuring
            Agreements A, B, and F. Such Sublimit of Liability shall be the maximum aggregate amount
            that the Insurer shall pay for this coverage under each relevant Insuring Agreement. Such
            Sublimit of Liability shall be part of, and not in addition to, the Limit of Liability applicable to
            each relevant Insuring Agreement. Other than as specified above, no Deductible shall apply
            to this coverage.

      C.    “Computer Restoration Costs” means reasonable and necessary expenses incurred by an
            Insured with the Insurer’s prior written consent to reproduce or duplicate damaged or
            destroyed Data or computer programs. If such computer programs cannot be duplicated
            from other computer programs, then Computer Restoration Costs shall also include
            reasonable costs incurred for computer time, computer programmers, technical experts, and
            consultants to restore the computer programs to substantially the same level of operational
            capability immediately preceding the covered loss. Computer Restoration Costs shall not
            include any compensation, benefit expenses, or overhead of any Insureds or any expenses
            incurred by any Customer.



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7.     PRIOR DISHONESTY EXCLUSION - $25,000 THRESHOLD

       Section 3. Exclusions A. 9.a is deleted and replaced by:

             after an Executive or Risk Manager acquires knowledge of fraud or dishonesty committed
             by such Employee prior to employment with an Insured involving Money, Securities or
             Property valued at $25,000 or more.

8.     TERMINATED EMPLOYEE COVERAGE - DISCOVERY UP TO 90 DAYS AFTER TERMINATION

       Section 3. Exclusions A. 9.b is amended to replace “sixty (60) days” with “ninety (90) days”.

9.     DELETION OF UNIDENTIFIED EMPLOYEE EXCLUSION

       Section 3. Exclusions, B.1 is deleted.

10.    CLAIM REPORTING - UP TO 90 DAYS AFTER DISCOVERY

       Section 11. Loss Reporting Rights and Duties, B.1 is amended to replace “thirty (30) days” with
       “ninety (90) days”.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 20
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         AMEND DEFINITIONS OF DATA AND LOSS

                                    (CRIME COVERAGE PART)
Regarding the Crime Coverage Part, it is agreed that:

1.     Section 2. Definitions, G. “Data” is deleted and replaced by:

                “Data” means information of any kind regardless of the medium in which information is
                stored. Such medium shall include, without limitation, accounts, microfilms, tapes or
                other paper or electronic records. Data shall include, without limitation, any financial
                information, credit card information, or health information.

2.     Section 2. Definitions Q. “Loss” is deleted and replaced by:

               “Loss” means direct loss sustained. Notwithstanding the foregoing, Loss shall include
               Investigation Costs if Investigation Costs Coverage is elected in Item 6 of the
               Declarations. Loss shall not include any expense incurred in response to a security
               breach involving Data, including, without limitation, any notification, identity protection,
               credit monitoring, public relations, forensic audit or accounting expenses or any other
               expenses to comply with federal or state laws or Payment Card Industry Data Security
               Standards.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 21
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       AMEND OWNERSHIP OF PROPERTY; INTERESTS COVERED SECTION
                       (CRIME COVERAGE PART)
Regarding the Crime Coverage Part, it is agreed that:

Section 6. Ownership of Property, Interests Covered B. is deleted and replaced by:

B.    Regarding Insuring Agreement B, coverage shall only apply to Money, Property or Securities: (i)
      of a Customer held by the Insured Organization; (ii) of a Customer for which the Insured
      Organization is legally liable; (iii) owned by a Customer; or (iv) held by a Customer, for which
      such Customer is legally liable.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 22
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    PRIOR ACTS EXCLUSION
Regarding the Liability Coverage Parts, it is agreed that:

1.     “Prior Act Date” means

       11/07/2007

2.     The Insurer shall not pay Loss in connection with any Claim for, based upon, arising from, or in
       any way related to any act, error, omission, misstatement, misleading statement, neglect or breach
       of duty occurring, or alleged to have occurred:

       A.    on or before the Prior Act Date; or

       B.    after the Prior Act Date if related to any act, error, omission, misstatement, misleading
             statement, neglect or breach of duty occurring, or alleged to have occurred, on or before the
             Prior Act Date.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 23
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            ADDITIONAL INSURED ORGANIZATIONS WITH PRIOR ACT DATE
                            (GENERAL PROVISIONS)
Regarding the General Provisions, it is agreed the following applies for each Liability Coverage Part
purchased:

1.     The definition of Insured Organization is amended to add the following entity(ies):
       Dearborn Mid-West Conveyor Co.; DMW Systems, Inc.; DMW Acquisition, LLC

2.     “Prior Act Date” means: 11/7/2007

3.     The Insurer shall not pay Loss on account of any Claim against the entity(ies) specified in 1
       above or any Insureds of such entity(ies) based upon, arising out of, or attributable to any act,
       error, omission, misstatement, misleading statement, neglect or breach of duty occurring, or
       alleged to have occurred:

       A.    on or before the Prior Act Date or

       B.    after the Prior Act Date if related to any act, error, omission, misstatement, misleading
             statement, neglect or breach of duty occurring, or alleged to have occurred, on or before the
             Prior Act Date.

The following shall also apply to the Crime Coverage Part or Kidnap, Ransom and Extortion Coverage
Part if purchased:

1.     The definition of Insured Organization is amended to add the following entity(ies):
       Dearborn Mid-West Conveyor Co.; DMW Systems, Inc.; DMW Acquisition, LLC

2.     The Insurer shall not pay for Loss sustained on or prior to 11/7/2007 by the entity(ies) specified in
       1 above or any Insureds of such entity(ies).

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 24
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        PAYMENT INSTRUCTION FRAUD COVERAGE
                              (CRIME COVERAGE PART)
Regarding the Crime Coverage Part, it is agreed that:

1.     Item 6 of the Declarations is amended to include:

       Insuring Agreement                       Limit of Liability              Deductible
       H.     Payment Instruction Fraud                              $250,000                   $50,000

2.     Section 1. Insuring Agreements is amended to add:

             H.     Payment Instruction Fraud

                    The Insurer shall pay Loss by an Insured of Money or Securities resulting from any
                    Payment Instruction Fraud.

3.     “Payment Instruction Fraud” means a communication from a Third Party that: (i) purports to be
       from a customer, vendor, business affiliate, Employee, Executive, of an Insured Organization,
       but is actually not from such customer, vendor, business affiliate, Employee, or Executive; and (ii)
       requests the transfer, payment or delivery of Money or Securities.

4.     Regarding all Insuring Agreements other than Insuring Agreements A and H, the Insurer shall not
       be liable to pay Loss resulting from Payment Instruction Fraud.

5.     Section 3. Exclusions, A.11 shall not apply to Insuring Agreement H.

6.     Regarding Insuring Agreement H, the Insureds shall bear uninsured at their own risk 50 percent of
       such Loss excess of the applicable Deductible.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 25
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  SPECIFIC ENTITY EXCLUSION
Regarding all Liability Coverage Parts, it is agreed that the Insurer shall not pay Loss for any Claim
against an Insured:

1.     made against, or brought by or on behalf of, an Entity; or

2.     alleging, based upon, arising out of, or attributable to any actual or alleged act, error, omission,
       misstatement, misleading statement, neglect or breach of duty by an Entity.

Entity means Dearborn Mid-West Company, LLC or any subsidiary of any of such entity, or any past,
present or future director, officer, partner, owner, affiliate, member, member of the board of managers or
management committee or employee of any of such entities or any person whose labor or service was,
is, or shall be engaged or directed by any of such entities.

All other terms and conditions of this Policy remain unchanged.

Endorsement Number: 26
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           KANSAS AMENDATORY ENDORSEMENT
It is agreed that:

1.     General Provisions Section 15. Application, A. is deleted and replaced by:

       A.     The Insureds represent that the information contained in the Application is true, accurate
              and complete. This Policy is issued in reliance upon the Application. If the Application
              contains misrepresentations or omissions made with intent to deceive or that materially
              affect the acceptance of the risk or the hazard assumed by the Insurer, this Policy shall be
              cancelled and shall not afford coverage for any Insured who knew on the inception date of
              this Policy the facts that were not truthfully disclosed in the Application, whether or not the
              Insured knew the Application contained such misrepresentation or omission.

2.     General Provisions Section 21. Cancellation is deleted and replaced by:

       CANCELLATION

       The Named Organization may cancel this Policy at any time by telling the Insurer in writing what
       date the Named Organization wants the coverage to end. If the Named Organization cancels
       this Policy, the Insurer shall retain the pro rata earned premium plus 10% of such amount. Any
       premium refund due to the Named Organization will be refunded to it.

       If this Policy has been in effect for less than ninety (90) days, it may be cancelled by the Insurer or
       on its behalf for any reason. If this Policy has been in effect for ninety (90) days or more, this
       Policy may only be cancelled by or on behalf of the Insurer for one of the following reasons:

              1)     nonpayment of premium;

              2)     the Policy was issued because of a material misrepresentation;

              3)     the Insureds violated any of the material terms and conditions of the Policy;

              4)     unfavorable underwriting factors specific to the Insureds exist that were not present
                     at the inception of the Policy;

              5)     a determination by the Commissioner that continuation of coverage could place the
                     Insurer in a hazardous financial condition or in violation of the laws of the State of
                     Kansas; or

              6)     a determination by the Commissioner that the Insurer no longer has adequate
                     reinsurance to meet its needs.

       The Insurer shall mail or deliver written notice to the Named Organization at the address shown
       in Item 1 of the Declarations stating when, not less than thirty (30) days thereafter, such
       cancellation shall be effective. In the case of nonpayment of premium, the Insurer may cancel
       coverage upon ten (10) days notice of cancellation. The mailing of such notice shall be sufficient
       notice and the effective date of cancellation shall become the end of the Policy Period. Delivery of
       such notice shall be equivalent to mailing. The notice shall provide a written explanation
       specifically detailing the reason or reasons for cancellation. If the Insurer cancels the Policy, any
       refund due to the Named Organization will be pro rata.

       NONRENEWAL



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      Should the Insurer decide to nonrenew this Policy, then the Insurer shall mail or deliver written
      notice of nonrenewal to the Named Organization or the Named Organization’s agent of record at
      the principal address shown in Item 1 of the Declarations of this Policy at least sixty (60) days
      before the end of the Policy Period. Delivery of such notice shall be equivalent to mailing.

3.    Fiduciary Liability Coverage Part Section 2. Definitions, G. is deleted and replaced by:

      G.     “Loss” means the amount that the Insureds are legally obligated to pay resulting from a
             Claim, including, without limitation, damages, settlements, judgments, pre- and
             post-judgment interest, and Defense Costs. Regarding Insuring Agreement B, “Loss”
             means Voluntary Settlements and Defense Costs.

             Loss shall include punitive and exemplary damages where insurable by law. The insurability
             of such damages shall be governed by the laws of any applicable jurisdiction that permits
             coverage of such damages.

             Loss shall exclude any:

             1.    taxes, fines or penalties imposed by law other than any;

                   a.     five percent (5%) or less, or twenty percent (20%) or less, civil penalties
                          imposed under Section 502(i) or (l), respectively, of ERISA;

                   b.     civil penalties imposed upon an Insured for violation of the privacy provisions
                          of the Health Insurance Portability and Accountability Act of 1996, provided that
                          the Insurer’s maximum aggregate liability for all such civil money penalties
                          under this Policy shall be subject to a sublimit of $25,000 that shall be the
                          maximum aggregate amount that the Insurer shall pay for all such penalties
                          and shall be part of, and not in addition to, the Limit of Liability applicable to this
                          Liability Coverage Part; or

                   c.     solely with respect to Insuring Agreement B, Voluntary Settlements;

             2.    multiple portion of any multiplied damage award;

             3.    matters that are uninsurable under the law pursuant to which this Policy shall be
                   construed;

             4.    amount for which the Insureds are not financially liable or for which the claimants are
                   without legal recourse to the Insureds; or

             5.    non-monetary relief.

4.    Crime Coverage Part Section 11. Loss Reporting Rights and Duties, D is deleted and replaced by:

      D.     No Insured shall institute legal proceedings against the Insurer regarding any Loss:

             1.    more than five (5) years after Discovery; or

             2.    to recover a judgment or settlement against it or its bank resulting from Forgery or
                   Alteration, or defense costs as specified in Section 7 Defense Costs Coverage
                   (Forgery or Alteration), more than five (5) years after the date such judgment shall
                   become final or settlement was entered.

All other terms and conditions of this policy remain unchanged.




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Endorsement Number: 27
Policy Number: PCD 9300378-02
Named Insured: MID-WEST CONVEYOR CO.
This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
Endorsement Effective Date: December 17, 2015




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               TERRORISM COVERAGE DISCLOSURE NOTICE
                              TERRORISM COVERAGE PROVIDED UNDER THIS POLICY

The Terrorism Risk Insurance Act of 2002 as amended and extended by the Terrorism Risk Insurance Program
Reauthorization Act of 2015 (collectively referred to as the “Act”) established a program within the Department of the
Treasury, under which the federal government shares, with the insurance industry, the risk of loss from future terrorist
attacks. An act of terrorism is defined as any act certified by the Secretary of the Treasury, in consultation with the
Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism; to be a violent
act or an act that is dangerous to human life, property or infrastructure; to have resulted in damage within the United
States, or outside the United States in the case of an air carrier or vessel or the premises of a United States Mission; and
to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the United
States or to influence the policy or affect the conduct of the United States Government by coercion.
In accordance with the Act, we are required to offer you coverage for losses resulting from an act of terrorism that is
certified under the federal program as an act of terrorism. The policy’s other provisions will still apply to such an
act. Your decision is needed on this question: do you choose to pay the premium for terrorism coverage stated in this
offer of coverage, or do you reject the offer of coverage and not pay the premium? You may accept or reject this offer.
If your policy provides commercial property coverage, in certain states, statutes or regulations may require coverage for
fire following an act of terrorism. In those states, if terrorism results in fire, we will pay for the loss or damage caused by
that fire, subject to all applicable policy provisions including the Limit of Insurance on the affected property. Such
coverage for fire applies only to direct loss or damage by fire to Covered Property. Therefore, for example, the coverage
does not apply to insurance provided under Business Income and/or Extra Expense coverage forms or endorsements that
apply to those coverage forms, or to Legal Liability coverage forms or Leasehold Interest coverage forms.
Your premium will include the additional premium for terrorism as stated in the section of this Notice titled
DISCLOSURE OF PREMIUM.
               DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
program. The federal share equals 85% in 2015, 84% in 2016, 83% in 2017, 82% in 2018, 81% in 2019, and 80% in
2020 of that portion of the amount of such insured losses that exceeds the applicable insurer deductible during
Calendar Year 2015 and each Calendar Year thereafter through 2020.
                                     DISCLOSURE OF CAP ON ANNUAL LIABILITY
If the aggregate insured terrorism losses of all insurers exceed $100,000,000,000 during any Calendar Year provided in
the Act, the Secretary of the Treasury shall not make any payments for any portion of the amount of such losses that
exceed $100,000,000,000, and if we have met our insurer deductible, we shall not be liable for the payment of any portion
of such losses that exceeds $100,000,000,000.
                                               DISCLOSURE OF PREMIUM
Your premium for terrorism coverage is: $0.00
This charge/amount is applied to obtain the final premium.)
You may choose to reject the offer by signing the statement below and returning it to us. Your policy will be
changed to exclude the described coverage. If you chose to accept this offer, this form does not have to be returned.

                                                REJECTION STATEMENT
    I hereby decline to purchase coverage for certified acts of terrorism. I understand that an exclusion of certain
    terrorism losses will be made part of this policy.
                                                                   MID-WEST CONVEYOR CO.
        Policyholder/Legal Representative/Applicant’s                                 Named Insured
                         Signature
                                                                   Arch Insurance Company
              Print Name of Policyholder/Legal                                      Insurance Company
                  Representative /Applicant
    Date:                                                          Policy Number: PCD 9300378-02




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   U.S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN
               ASSETS CONTROL (“OFAC”)
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your poli-
cy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of “national emergency”. OFAC has identified and listed numerous:
      Foreign agents;
      Front organizations;
      Terrorists;
      Terrorist organizations; and
      Narcotics traffickers;
as “Specially Designated Nationals and Blocked Persons”. This list can be located on the United States
Treasury’s web site – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all pro-
visions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such a
blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




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